                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION

United States, ex rel. RICKEY HOWARD,
BRINGING THIS ACTION ON BEHALF
OF THE UNITED STATES OF
AMERICA,                                        Case No.:7:12-cv-215-BO

             Plaintiffs,                    SECOND AMENDED COMPLAINT
                                                 AND JURY DEMAND
v.

HARPER CONSTRUCTION
COMPANY, INC., a California
Corporation,

              Defendant.

      SECOND AMENDED COMPLAINT OF RELATOR RICKEY HOWARD




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       NOW COMES PLAINTIFF-RELATOR, Rickey Howard, by and through his attorneys,

Charles H. Rabon, Jr. and Marshall P. Walker of Rabon Law Firm, PLLC, Joel M. Androphy of

Berg & Androphy, and Matt Abbott, of Abbott Law Firm, LLC, and on behalf of the United

States of America, and brings this action under 31 U.S.C. §§3729–3732 (the “False Claims Act”)

to recover all damages, penalties and other remedies established by the False Claims Act on

behalf of the United States and himself, alleging and stating his Second Amended Complaint

against Defendants by way of restatement, and shows the Court as follows:

                                      I. INTRODUCTION

1. Relator Rickey Howard is a former Project Manager for Frazier Masonry, a large commercial

   masonry contractor.

2. The False Claims Act violations described in this Complaint concern numerous large

   construction contracts at military bases in North Carolina and California that were awarded

   to Defendant Harper Construction. The contracts were awarded to Harper Construction, in

   part, based on promises and representations made in its Subcontracting Plans – which were

   incorporated into and made a material part of the contracts.

3. In performing these contracts, Harper Construction knowingly and inappropriately engaged

   in two distinct fraudulent “pass-through” schemes in order to create the illusion of

   compliance with its Subcontracting Plans when the contracts were being performed. First,

   Harper Construction knowingly subcontracted with unqualified small businesses that were

   affiliated with Frazier Masonry, a large business. The work on these subcontracts was then

   performed entirely by Frazier Masonry. Because of the affiliation (which was known by

   Harper Construction), these companies did not qualify as “small businesses” under the

   controlling statutes and regulations. Second, Harper Construction contracted with small



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   businesses which, for an administrative fee, then passed through the entire subcontracts to

   Frazier Masonry.

4. In perpetuation of its fraudulent conduct in the performance of these contracts, Harper

   Construction made numerous material false statements and certifications to the United States.

   When submitting its Subcontracting Plans on the projects described in this Complaint,

   Harper Construction falsely represented that it intended to comply in good faith with its

   Subcontracting Plans. In addition, the monthly progress payment requests it submitted to the

   Government on these contracts were false because Harper Construction represented,

   untruthfully, that it was fulfilling its material obligations to comply in good faith with its

   Subcontracting Plans. Further, Harper Construction made materially false statements in

   mandatory reports to the Government regarding its utilization of small businesses in the

   contracts. In addition, in these same reports, Harper Construction also made materially false

   statements to cover up its fraudulent conduct.

5. To summarize, the underlying fraud as described in this Complaint includes, but is not

   limited to:

   (1) Inducing the United States to award large military construction contracts by submitting

   sham Small Business Subcontracting Plans that Harper Construction never intended to

   follow;

   (2) Making materially false statements in mandatory reports and progress payment requests

   in order to elicit payment from the United States or to conceal its conduct and avoid its

   obligation to repay money to the federal government; and

   (3) Conspiring with Frazier Masonry to submit false claims and/or statements to the United

   States.




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                                            II. PARTIES

6. Plaintiff-Relator Rickey Howard (“Howard”) is a resident of North Carolina.

7. Defendant Harper Construction Company, Inc. (“Harper Construction”) is a California

   corporation with its corporate headquarters in San Diego, California.

                               III. JURISDICTION AND VENUE

8. This action arises under the False Claims Act, 31 U.S.C. §3729, et seq.

9. Jurisdiction over this action is conferred upon this Court by 31 U.S.C. §3732(a) and 28

   U.S.C. §3130 in that this action arises under the laws of the United States.

10. Venue is proper in this district pursuant to 31 U.S.C. §3732(a), which provides that “any

   action under §3730 may be brought in any judicial district in which the Defendant or, in the

   case of multiple Defendants, any one Defendant can be found, resides, transacts business, or

   in which any act proscribed by §3729 occurred.” A substantial part of the proscribed acts,

   which are the subject of this action, occurred in the State of North Carolina within this

   judicial district. Additionally, at all times material hereto, corporate defendants Harper

   Construction, Frazier Masonry, and F-Y regularly conducted business within the State of

   North Carolina, within this judicial district. Venue is also proper in this district pursuant to

   28 U.S.C. §1391(b)(2).

11. There are no bars to recovery under 31 U.S.C. §3730(e). Specifically, this suit is not based

   upon prior public disclosures of allegations or transactions in a criminal, civil, or

   administrative hearing, lawsuit or investigation or in a Government Accounting Office or

   Auditor General's report, hearing, audit, or investigation, or from the news media. In the

   alternative, Relator Howard is an original source as defined therein. Relator Howard has




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   direct and independent knowledge of the information on which the allegations are based.1

   Further, substantially the same allegations as those alleged in this suit were not publicly

   disclosed in a federal criminal, civil, or administrative hearing in which the Government or

   its agent was a party, or in a congressional, Government Accountability Office, or other

   Federal report, hearing, audit, or investigation, or from the news media.2 In the alternative,

   Relator Howard is an original source as defined therein. Relator Howard has knowledge that

   is independent of and materially adds to any publicly disclosed allegations or transactions.

12. Relator Howard has complied with all conditions precedent to the bringing of this action.

                  IV. RESPONDEAT SUPERIOR AND VICARIOUS LIABILITY

13. Any and all acts alleged herein to have been committed by the Defendants were committed

   by officers, directors, employees, representatives or agents, who, at all times, acted on behalf

   of the corporate Defendants and within the course and scope of their employment, such that

   Defendants are jointly and severally liable under legal theories of respondeat superior and

   vicarious liability.

                     V. BACKGROUND ON GOVERNMENT CONTRACTING

       A.         Federal Contracting Process for Construction Projects Generally

14. The United States Government, along with its departments and subdivisions, engages in

   contracting for goods, services, projects, and products on a daily basis. Among these, the

   Government contracts for work related to construction projects at various locations such as

   military bases.

15. The Government generally obtains contracts for large construction projects through a

   competitive negotiation process that typically involves two phases.


       1
           This reflects the relevant language of 31 U.S.C. §3730(e) prior to amendments on March 23, 2010.
       2
           This reflects the relevant language of 31 U.S.C. §3730(e) as of the date of this filing.


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16. The process begins when the contracting officer issues a solicitation that delineates the scope

    of work and states the Government’s requirements, including but limited to design criteria,

    budget parameters, and schedule. See FAR 36.302.3

17. In Phase I, the solicitation generally covers the technical aspects of the project. See FAR

    36.303-1. General contractors submit proposals for the project. The Government then

    evaluates each offeror’s technical competencies and other non-price/cost-related factors

    against stated evaluation criteria. The Government then selects the most highly qualified

    offerors, which generally does not exceed a maximum number specified in the solicitation

    and, in any case, does not exceed five offerors. See id.

18. In Phase II, the selected offerors submit proposals that expound upon the technical aspects

    and include cost proposal data. See F.A.R. 15.304; FAR 36.303-2. If the amount of the

    construction contract at issue is expected to exceed $1,500,000,4 the offeror’s Phase II

    proposal must include a Subcontracting Plan detailing the extent of participation of small

    business concerns, which constitutes the “socioeconomic evaluation factor” of the offeror’s

    proposal. See FAR 15.304(c)(4); FAR 19.702. Subcontracting Plans require large businesses

    to state the amount of planned subcontracting dollars that “will go” to specified categories of

    small businesses.

19. In awarding these large construction contracts, the Government is not seeking the lowest

    possible bidder to perform the work. Instead, the Government is seeking the contractor that

    can best deliver the full continuum of final product, consistent with all goals, laws, rules and

    regulations applicable to the product, which expansively include certain requirements for the

        3
          The Federal Acquisition Regulations (FARs) govern executive agency acquisitions, including the
Department of Defense. The FARs are codified at Title 48, Chapter 1 of the Code of Federal Regulations.
        4
          The FAR acquisition thresholds for requiring subcontracting plans were adjusted effective October 1,
2010. Prior to the adjustment, the threshold for requiring subcontracting plans in construction contracts was
$1,000,000.


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   participation of Small and/or Disadvantaged Business Enterprises through the requisite Small

   Business Subcontracting Plan. See FAR 15.101. As established in various federal statutes

   and regulations, these include business concerns that are Women Owned Small Business

   (WOSB’s), Veteran Owned Small Business (VOSB’s), Service Disabled Veteran Owned

   Small Business (SDVOSB’s), and the like.

       B.      Subcontracting Plans to Benefit Small Business

20. The Small Business Act, 15 U.S.C. §§631–657s, governs the federal government’s

   procurement policy towards small businesses. 15 U.S.C. §631, in enumerating the purpose

   and policy of the Act, states as follows:

            The essence of the American economic system of private enterprise is free
            competition. Only through full and free competition can free markets, free
            entry into business, and opportunities for the expression and growth of
            personal initiative and individual judgment be assured. The preservation and
            expansion of such competition is basic not only to the economic well-being
            but to the security of this Nation. Such security and well-being cannot be
            realized unless the actual and potential capacity of small business is
            encouraged and developed. It is the declared policy of the Congress that the
            Government should aid, counsel, assist, and protect, insofar as is possible, the
            interests of small-business concerns in order to preserve free competitive
            enterprise, to insure that a fair proportion of the total purchases and
            contracts or subcontracts for property and services for the Government
            (including but not limited to contracts or subcontracts for maintenance,
            repair, and construction) be placed with small-business enterprises, to insure
            that a fair proportion of the total sales of Government property be made to
            such enterprises, and to maintain and strengthen the overall economy of the
            Nation.

   (emphasis added).

21. 15 U.S.C. §637 provides the statutory authority for participation by small businesses in the

   performance of contracts let by any Federal agency, including the Department of Defense.

   This law specifies that small businesses will have the “maximum practical opportunity” to

   participate in performing Government contracts consistent with efficient performance. 15




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U.S.C. §637(d)(1). Language reflecting this policy “shall be included” in the pertinent

contracts. 15 U.S.C. §637(d)(2)–(3). The relevant language is set forth in FAR 52.219-8,

“Utilization of Small Business Concerns”, which states:

       (a)     It is the policy of the United States that small business concerns,
               veteran-owned small business concerns, service-disabled veteran-
               owned small business concerns, HUBZone small business concerns,
               small disadvantaged business concerns, and women-owned small
               business concerns shall have the maximum practicable opportunity
               to participate in performing contracts let by any Federal agency,
               including contracts and subcontracts for subsystems, assemblies,
               components, and related services for major systems. . . .
       (b)     The Contractor hereby agrees to carry out this policy in the
               awarding of subcontracts to the fullest extent consistent with
               efficient contract performance. . . .
       (c)     Definitions. As used in this contract—
               ....
               “Service-disabled veteran-owned small business concern”—
                    (1)    Means a small business concern—
                           (i)     Not less than 51 percent of which is owned by one
                                   or more service-disabled veterans or, in the case of
                                   any publicly owned business, not less than
                                   51 percent of the stock of which is owned by one or
                                   more service-disabled veterans; and
                           (ii)    The management and daily business operations of
                                   which are controlled by one or more service-
                                   disabled veterans or, in the case of a service-
                                   disabled veteran with permanent and severe
                                   disability, the spouse or permanent caregiver of
                                   such veteran.
                    (2)    Service-disabled veteran means a veteran, as defined in
                           38 U.S.C. 101(2), with a disability that is service-
                           connected, as defined in 38 U.S.C. 101(16).
               “Small business concern” means a small business as defined pursuant
               to Section 3 of the Small Business Act and relevant regulations
               promulgated pursuant thereto.
               ....
                “Veteran-owned small business concern” means a small business
               concern—
                    (1)    Not less than 51 percent of which is owned by one or more
                           veterans (as defined at 38 U.S.C. 101(2)) or, in the case of
                           any publicly owned business, not less than 51 percent of
                           the stock of which is owned by one or more veterans; and




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                        (2)     The management and daily business operations of which
                                are controlled by one or more veterans.

    (emphasis added).

22. 15 U.S.C. §637 further provides the statutory authority for the FAR that implements the

   participation by small business concerns, FAR 19.7, which states, in part:

                     Any contractor receiving a contract for more than the simplified
             acquisition threshold must agree in the contract that small business, veteran-
             owned small business, service-disabled veteran-owned small business,
             HUBZone small business, small disadvantaged business, and women-owned
             small business concerns will have the maximum practicable opportunity to
             participate in contract performance consistent with its efficient performance. .
             ..
             (a) Except as stated in paragraph (b) of this section, Section 8(d) of the Small
                 Business Act (15 U.S.C. 637(d)) imposes the following requirements
                 regarding subcontracting with small businesses and small business
                 subcontracting plans:

                (1) In negotiated acquisitions, each solicitation of offers to perform a
                    contract or contract modification, that individually is expected to
                    exceed $650,000 ($1.5 million for construction) and that has
                    subcontracting possibilities, shall require the apparently successful
                    offeror to submit an acceptable subcontracting plan. If the apparently
                    successful offeror fails to negotiate a subcontracting plan acceptable to
                    the contracting officer within the time limit prescribed by the
                    contracting officer, the offeror will be ineligible for award.

   FAR 19.702.

23. Therefore, in accordance with the policy to provide small businesses with the maximum

   practicable opportunities to participate in the performance of Government contracts, the

   contractor must submit a Subcontracting Plan for the utilization of small businesses in

   construction contracts exceeding $1,500,000 (or $1,000,000 if awarded prior to October 1,

   2010)..

24. “A Subcontracting Plan is a document setting forth how a contractor will provide [small

   business concerns, small disadvantaged business concerns, women-owned small business




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    concerns, veteran-owned small business concerns, service-disabled veteran-owned small

    business concerns, and HUBZone small business concerns] with the maximum practicable

    opportunity to participate in the performance of a contract or subcontract.” U.S. Small

    Business Administration, A Handbook for Small Business Liaison Officers, p. 6 (June 2010),

    available at

    http://www.sba.gov/sites/default/files/Small_Business_Liaison_Officer_(SBLO)_Handbook_

    6_2010.pdf [hereinafter SBLO Handbook].5

25. In its Subcontracting Plan, a contractor is required to include “separate percentage goals

    using small business (including ANCs and Indian tribes), veteran-owned small business,

    service-disabled veteran-owned small business, HUBZone small business, small

    disadvantaged business (including ANCs and Indian tribes) and women-owned small

    business concerns as subcontractors.” FAR 19.704(a).

26. Additionally, in its Subcontracting Plan, a contractor must include a “statement of the total

    dollars planned to be subcontracted and a statement of the total dollars planned to be

    subcontracted to small business (including ANCs and Indian tribes), veteran-owned small

    business, service-disabled veteran-owned small business, HUBZone small business, small

    disadvantaged business (including ANCs and Indian tribes) and women-owned small

    business concerns.” Id.

27. A Subcontracting Plan must also include a “description of the types of records that will be

    maintained concerning procedures adopted to comply with the requirements and goals in the

    plan.” Id.



        5
           The SBLO Handbook is promulgated by the SBA as a resource for prime contractors and their small
business liaison officers. The handbook contains detailed information pertinent to a prime contractor’s small
business subcontracting program.


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28. A contractor who fails to submit a Subcontracting Plan when the threshold dollar amount is

   met is ineligible to be awarded the contract. See 15 U.S.C. §637(d)(4)(C); FAR 19.702.

   Further, “[n]o contract shall be awarded to any offeror unless the procurement authority

   determines that the [small business subcontracting] plan . . . provides the maximum

   practicable opportunity for small business concerns . . . to participate in the performance of

   the contract.” 15 U.S.C. §637(d)(4)(D).

29. For the successful bidder, the accepted Subcontracting Plan is “included in and made a

   material part of the contract.” 15 U.S.C. §637(d)(4)(B) (emphasis added).

       C.     Small Business Concerns and Affiliation

30. A “Small Business Concern” is defined as one that is independently owned and operated, is

   organized for profit, and is not dominant in its field. See 15 U.S.C. §632.

31. 15 U.S.C. §632 also authorizes the Small Business Administration (SBA) to promulgate

   more specific standards by which a business concern may be deemed to be a small business

   concern. Pursuant to that authority, the SBA has issued specific size standards which

   determine whether a business is a small business concern.

32. A Small Business “size standard” is numerical and represents the largest a concern can be

   and still be considered a small business. See 13 C.F.R. §§121.101; 121.102. Depending on

   the industry, size standard eligibility is based on the average number of employees for the

   preceding twelve months or on average annual receipts. Receipts are averaged over a

   concern’s latest three (3) completed fiscal years to determine its average annual receipts. For

   concerns that have been in business for less than three complete fiscal years, the average

   annual receipts are the total receipts for the period the concern has been in business divided

   by the number of weeks in business, multiplied by 52. See 13 C.F.R. §121.104(c).




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33. The SBA size standard limitation to qualify as a “Small Business Concern” for businesses in

   the Specialty Trade Contractors, Masonry Contractors subsector, is $14 million in average

   annual receipts. See U.S. Small Business Administration, Table of Small Business Size

   Standards Matched to North American Industry Classification System Codes, p. 6,

   http://www.sba.gov/sites/default/files/files/Size_Standards_Table.pdf; 13 C.F.R. §121.201.

34. In determining whether an entity qualifies as a small business concern, the SBA counts the

   receipts of all of the entity’s domestic and foreign affiliates, regardless of whether those

   affiliates are organized for profit. See 13 C.F.R. §121.103(a)(6).

35. “Affiliation” exists between businesses when one business, directly or indirectly, controls or

   has the power to control another business, or when a third party, directly or indirectly,

   controls or has the power to control both businesses. See 13 C.F.R. §121.103(a); FAR

   19.101; SBLO Handbook, supra, at 16. Control may arise through ownership, management,

   or other relationships or interactions between the parties. See 13 C.F.R. §121.103(a). If one

   or more officers, directors, managing members, or general partners of a business control the

   Board of Directors and/or the management of another business, the businesses are affiliates.

   See 13 C.F.R. §121.103(e).

36. “Affiliation” also exists when there is an identity of interest between individuals or

   businesses, including family members. Individuals or firms that have identical (or

   substantially identical) business or economic interests may be treated as though they are

   affiliated unless they can demonstrate otherwise. Family members, persons with common

   investments, or firms that are economically dependent through contractual (or other)

   relationships, are among those treated this way. See 13 C.F.R. §121.103(f).




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       D.      Post-Award Responsibilities and Obligations Regarding Subcontracting
               Plans

               1. Duty to Comply in Good Faith With a Subcontracting Plan

37. Each successful prime contractor with a Subcontracting Plan is required to make “a good-

   faith effort to achieve the dollar and percentage goals and other elements in its subcontracting

   plan.” 13 C.F.R. §125.3.

38. A contractor who fails to comply in good faith with its Subcontracting Plan, including the

   goals stated therein, or with FAR 52.219-8 (“Utilization of Small Business Concerns”) is in

   material breach of its contract. See 15 U.S.C. §637(d)(8); FAR 19.702(c).

39. This good faith obligation is expressly incorporated into all construction contracts requiring a

   Subcontracting Plan. See FAR 52.219-9(k) (“As prescribed in 19.708(b), insert the

   following clause . . . The failure of the Contractor or subcontractor to comply in good faith

   with—(1) The clause of this contract entitled “Utilization Of Small Business Concerns;” or

   (2) An approved plan required by this clause, shall be a material breach of the contract.”

   (emphasis added)).

40. FAR 19.705-7(a) states as follows:

            Maximum practicable utilization of small business, veteran-owned small
            business, service-disabled veteran owned small business, HUBZone small
            business, small disadvantaged business and women-owned small business
            concerns as subcontractors in Government contracts is a matter of national
            interest with both social and economic benefits. When a contractor fails to
            make a good faith effort to comply with a subcontracting plan, these
            objectives are not achieved, and 15 U.S.C. §637(d)(4)(F) directs that
            liquidated damages shall be paid by the contractor.

41. “Failure to make a good faith effort to comply with the subcontracting plan means willful or

   intentional failure to perform in accordance with the requirements of the subcontracting plan,

   or willful or intentional action to frustrate the plan.” FAR 19.701.




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42. The liquidated damages provision provides a specific, agreed-upon measure for determining

    the damage to the Government when a contractor fails to comply in good faith with its

    Subcontracting Plan. Specifically, “[t]he amount of damages attributable to the contractor’s

    failure to comply shall be an amount equal to the actual dollar amount by which the

    contractor failed to achieve each subcontracting goal.” FAR 19.705-7(b) (emphasis added).

    The liquidated damages provision, including the measure of damages stated therein, is

    required to be incorporated into solicitations and contracts with the Government.6 See FAR

    19.708(b); FAR 52.219-16. Further, “[l]iquidated damages shall be in addition to any other

    remedies that the Government may have.” FAR 19.705-7(g) (emphasis added).

43. Thus, pursuant to the above-referenced statutes and regulations, “[a]n other-than-small

    contractor that fails to make a good faith effort to achieve the goals in its subcontracting plan

    may be found in material breach of contract and terminated for default, or liquidated

    damages may be imposed.” SBLO Handbook, supra, at 30.

44. The use of a “pass-through” arrangement, whereby a prime contractor subcontracts with a

    small business entity which then subcontracts all of the work under the contract to a large

    business, is not good faith compliance with a Subcontracting Plan. As stated by the SBA:

    “[A] pass-through . . . adds little or no value to the procurement. It does not comport with

    the spirit or intent of the subcontracting program.” Id. at 77 (emphasis added).

                 2. Duty to Submit Truthful Reports

45. Throughout the contract, contractors must “[s]ubmit periodic reports so that the Government

    can determine the extent of compliance by the offeror with the subcontracting plan.” FAR


        6
           The liquidated damage provision is an explicit acknowledgement by the contractor that the social and
economic objectives of the Subcontracting Plan have measurable value. When the contractor fails to comply in
good faith with a Subcontracting Plan, and in particular when a contractor deceives the government, the United
States suffers damages.


                                        13
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    19.704(a)(10)(ii). A prime contractor is responsible for submitting “timely, accurate, and

    complete” reports. 13 C.F.R. §125.3. Contractors must electronically submit the Individual

    Subcontracting Report (ISR) and Summary Subcontracting Report (SSR). See FAR

    §§19.704(a)(10)(iii); 52.219-9(l).

46. The ISR “collects prime contractor and subcontractor subcontract award data” and is required

    to be submitted by the prime contractor twice a year (by April 30 and October 30 of each

    year). Electronic Subcontracting Reporting System (eSRS) Quick Reference for Federal

    Government Prime Contractors: Submitting an Individual Subcontracting Report (ISR), pp.

    2–3,

    http://www.esrs.gov/documents/eSRS_Quick_Reference_for_Federal_Government_Prime_C

    ontractors_filing_ISR.pdf. In the ISR, the prime contractor must provide data showing its

    small business subcontracting goals vs. its actual performance.7 See id. at 13–20. If the

    prime contractor fails to meet the goals in its Subcontracting Plan, the contractor must

    “explain the reason for any shortfalls” in the “Remarks” section of the ISR. Id. at 20. When

    submitting the ISR, the contractor must certify that “the data being submitted on the report is

    accurate and that the dollars and percentages reported do not include lower tier subcontracts”

    or the report will be rejected. Id.

47. The SSR “collects prime and subcontractors’ subcontract award data for a specific Federal

    Government agency” and is required to be submitted twice a year for Department of Defense

    contracts in the same time frame as the ISR. Electronic Subcontracting Reporting System

    (eSRS) Quick Reference Recommendation for Federal Government Contractors: Filing a

    Summary Subcontracting Report (SSR) for an “Individual” Subcontracting Plan, pp. 2–3,


        7
          Subcontracting Plan performance is “measured by applying the percentage goals to the total actual
subcontracting dollars.” FAR 52.219-16.


                                        14
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   http://www.esrs.gov/documents/eSRS_Federal_Government_Contractors_filing_SSR_for_In

   dividual_Subcontract_Plan.pdf. In the SSR, the prime contractor must report all subcontract

   awards to small business concerns, including the awards to each specific category of small

   business concern (i.e., woman-owned, service-disabled veteran-owned, etc.). See id. at 12–

   15. When submitting the SSR, the prime contractor must certify that “the data being

   submitted on the report is accurate and that the dollars and percentages reported do not

   include lower tier subcontracts” or the report will be rejected. Id. at 15. The chief executive

   officer (CEO) of the company submitting the SSR must approve and “sign a paper print-out”

   of the report and keep the signed copy on file for four years. Id. at 16. “No delegation of

   authority is accepted.” Id

              3. Certifications Made in Progress Payment Requests Include Certification
                 of Good Faith Compliance with Subcontracting Plan

48. In a fixed-price construction contract, the Government makes progress payments to the

   contractor on a monthly basis as the work proceeds. See FAR 52.232-5(b). Each time a

   contractor makes a request for progress payments, the contractor must make “the following

   certification, or payment shall not be made: I hereby certify, to the best of my knowledge and

   belief, that . . . (1) The amounts requested are only for performance in accordance with the

   specifications, terms, and conditions of the contract . . . .” FAR 52.232-5(c) (emphasis

   added). By making such certification, the contractor attests that the amount of money

   requested is only for performance in accordance with the requirements of the contract,

   including performance in accordance with the material contractual obligation to comply in

   good faith with its Subcontracting Plan and the goals therein. This mandatory certification

   provision is required to be inserted into the contract with the contractor and the Government.

   See FAR 52.232-5.



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49. If the agency discovers that a “contractor’s request for . . . progress payments under a

   contract awarded by that agency is based on fraud” the agency head may “reduce or suspend

   further payments to the contractor.” FAR 32.006-4. “Such reduction or suspension shall be

   reasonably commensurate with the anticipated loss to the Government resulting from the

   fraud.” Id. The “[a]uthority to reduce or suspend payments . . . is in addition to other

   Government rights, remedies, and procedures.” FAR 32.006-1.

50. Additionally, a contractor has an obligation to timely disclose to the agency when the

   contractor’s principal, employee, agent, or subcontractor has committed a violation of the

   False Claims Act. See FAR 52.203-13 (“The Contractor shall timely disclose, in writing, to

   the agency Office of the Inspector General (OIG), with a copy to the Contracting Officer,

   whenever, in connection with the award, performance, or closeout of this contract or any

   subcontract thereunder, the Contractor has credible evidence that a principal, employee,

   agent, or subcontractor of the Contractor has committed . . . A violation of the civil False

   Claims Act (31 U.S.C. 3729-3733).”).

                              VI.     FACTUAL ALLEGATIONS

       A.      Overview of Harper Construction and Former Corporate Defendants

51. Harper Construction is ranked among the Top 400 construction companies, the Top 100

   Design Build firms, and the Top 100 Green contractors in the United States. According to

   the San Diego Business Journal, Harper Construction is the second largest privately-held

   company in San Diego, California. It reported revenues in 2010 of approximately $360

   million. Harper Construction earns a substantial portion of its revenues through government

   contracting. Recently, Harper Construction completed several Bachelor Enlisted Quarters

   (“BEQs”) at Camp Pendleton, California, at a contract price of $140 million – merely one of




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   several BEQ packages and other major construction projects that Harper Construction has

   built at Camp Pendleton since 2008. Harper Construction has performed government

   contracting work for the U.S. military throughout the United States and all around the world,

   as well as substantial construction work for various state and local governments. It has been

   reported that in excess of $1.5 billion worth of federal government contracts have been

   awarded to Harper Construction since 2002.

52. Frazier Masonry Corporation (“Frazier Masonry”), a California corporation with its

   corporate headquarters in Camarillo, California, is a full-service commercial masonry

   contractor specializing in brick, stone, and block structures, as well as concrete paving.

   During the time of the events alleged herein, Frazier Masonry was one of the largest masonry

   companies in the United States. Frazier Masonry has earned extensive revenues through its

   work on federal government construction projects, usually as a masonry subcontractor to

   prime or general contractors. Frazier Masonry was founded in 1974 by Don Frazier and was

   originally called “Don Frazier and Sons Masonry.” In 1985, the company was renamed

   Frazier Masonry Corporation. In 1988, founder Don Frazier brought his two sons, Defendant

   Russell (“Russ”) Frazier and Michael (“Mike”) Frazier [not a defendant], into the family

   business as partners. Russ and Mike Frazier purchased their father’s interest in the company

   in 2002. At all times relevant hereto, Russ Frazier served as the President of Frazier

   Masonry.

53. F-Y, Inc. (“F-Y”) was incorporated in California on July 20, 2011. Sometime after

   December 2012, F-Y was dissolved. During F-Y’s existence, Defendant Robert Yowell was

   President of F-Y. Yowell was also an employee of Frazier Masonry during the time he was

   President of F-Y, and he is married to Holly Frazier, the daughter of Frazier Masonry’s




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   owner Russ Frazier. F-Y represented itself to be a service-disabled veteran-owned small

   business (SDVOSB) during its existence. In its corporate records, F-Y listed its primary

   place of business as 6965 El Camino Real, Suite 105-618, Carlsbad, California 92009. This

   address belonged to a UPS Store/copy shop.

54. CTI Concrete & Masonry, Inc. (“CTI”) was incorporated in California on December 30,

   2006, as “Concrete Tec, Inc.” The name of the company was changed to “CTI Concrete &

   Masonry, Inc.” in March 2010. CTI is a purported woman-owned small business. The

   company was acquired by Russ Frazier in 2009. Since at least August 2012, Russ Frazier’s

   daughter, Holly Frazier Yowell, has been the CEO, Secretary, CFO, and President of CTI.

55. Masonry Technology, Inc. (“Masonry Tec”) was incorporated on April 6, 1994, as “Yocom

   Masonry, Inc.” The name of the company was changed to “Masonry Technologies, Inc.” in

   October 2000. Masonry Tec was a purported woman-owned small business. The company

   was acquired by Russ Frazier in 2009, but has recently been dissolved.

56. Masonry Works, Inc. (“Masonry Works”) was incorporated on September 19, 2008. In June

   2009, the name of the company was changed to “Concrete and Masonry Works, Inc.” In

   August 2010, the name of the company was changed back to “Masonry Works, Inc.”

   Masonry Works was a purported SDVOSB. The company was acquired by Russ Frazier in

   2009, but has recently been dissolved.

       B.     Relator’s Discovery of Harper Construction/Frazier Masonry’s Fraudulent
              Scheme to Use Sham Small Businesses to Garner Government Contracting
              Work and Falsely Represent Compliance with Subcontracting Plan Goals

              1. Relator Discovers the Fraudulent Conduct While Working on the
                 Courthouse Bay Project

57. Relator Howard has been involved in the masonry trade and construction industry his entire

   career. Relator Howard was hired by Frazier Masonry at the end of 2011, and began working



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   as a Project Manager at Frazier Masonry on January 4, 2012.8 One of the masonry projects

   on which Relator Howard worked as a Project Manager was the Courthouse Bay construction

   project at MCB Camp Lejeune (hereinafter “Camp Lejeune”).

                      a. The Courthouse Bay Project

58. Camp Lejeune, which opened in September 1941, is the largest Marine Corps Base on the

   East Coast, and occupies approximately 246 square miles in Onslow County, North Carolina.

   Camp Lejeune is home base for the II Marine Expeditionary Force, 2d Marine Division, 2d

   Force Service Support Group, and other combat units and support commands, which amount

   to some 47,000 active Marines and Sailors, exclusive of the dependent, retiree, and civilian

   employee population which, altogether, totals nearly 150,000 people.

59. On October 17, 2006, the United States Congress authorized an increase in end strength of

   the United States Marine Corps (USMC) from 175,000 to 179,000 Marines. The majority of

   the personnel increase is to become permanently stationed at Camp Lejeune.

60. In connection with that increase in force, and at the same time to upgrade the existing

   infrastructure at Camp Lejeune, Congress authorized approximately $3.53 billion of military

   construction at the base, to be paid from fiscal year budgets 2008 through 2012, with

   completion of all construction scheduled for calendar year 2015.

61. One substantial area of new construction taking place at Camp Lejeune is the Courthouse

   Bay area of the base, and includes the design and construction of Bachelor Enlisted Quarters,

   referred to as “BEQs”, as well as other buildings.

62. In early 2011, Naval Facilities Engineering Command Mid-Atlantic in Norfolk, Virginia

   (“NAVFAC Mid-Atlantic”) issued a solicitation [Solicitation Number: N40085-11-R-4009]



       8
           Relator Howard worked in that position until he left the company in February 2013.


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   for the construction of BEQs at the Courthouse Bay area of Camp Lejeune (hereinafter “the

   Courthouse Bay Project”).

63. NAVFAC Mid-Atlantic described the project as a “Design/Build contract to construct four

   100-room, multi-story bachelor enlisted quarters (BEQs) . . . .” The BEQs are often referred

   to as the P-1251 and P-1254 BEQs.

64. Harper Construction submitted a proposal to NAVFAC Mid-Atlantic in response to

   Solicitation Number: N40085-11-R-4009.

65. In Phase II of the negotiation process, as required, Harper Construction included a

   Subcontracting Plan as part of its proposal for the Courthouse Bay Project, which was one of

   the bases upon which it was awarded the Contract. In Harper Construction’s Subcontracting

   Plan, Harper Construction represented that a defined amount of the contract would be

   subcontracted and that specified percentages of the subcontracting work would be awarded to

   “small business concerns” including HUBZone, WOSB, SDB, VOSB, and SDVOSB

   concerns. In its Subcontracting Plan, Harper Construction further stated goals that 75% of

   the total amount of the contract that was to be subcontracted would go to small business

   concerns. Harper Construction also stated goals that 4% of the total amount to be

   subcontracted would each go to VOSBs and SDVOSBs (a total of 8%).

66. By submitting its Small Business Subcontracting Plan, Harper Construction certified that it

   would comply in good faith with the requirements of that plan, as well as with the applicable

   statutory and regulatory requirements, including, but not limited to 15 U.S.C. §637, FAR

   Subpart 19.7, and FAR §§52.219-8 and 52.219-9.

67. By submitting its Small Business Subcontracting Plan, Harper Construction understood that

   the United States would rely upon the statements in the Subcontracting Plan to determine




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   whether the plan was bona fide, and Harper Construction knew that if it was awarded the

   Courthouse Bay contract, its Subcontracting Plan would be included in and made a material

   part of that contract.

68. The United States, through the United States Navy and Naval Facilities Engineering

   Command (“NAVFAC”), reviewed and relied upon the statements that Harper Construction

   made in its Subcontracting Plan in determining that Harper Construction had submitted an

   acceptable bid on the Courthouse Bay Project. Had Harper Construction not submitted a

   Subcontracting Plan, it would have been ineligible even to bid on the contract. Had the

   United States not relied on the statements that Harper Construction made in its

   Subcontracting Plan, it would not have awarded Harper Construction the Courthouse Bay

   contract.

69. On August 31, 2011, Harper Construction was awarded the Courthouse Bay contract with a

   total original value of $67,681,224.

70. Harper Construction’s Subcontracting Plan that it submitted to the United States as part of its

   proposal on the Courthouse Bay Project – which the Government approved and accepted –

   was incorporated into and made a material part of the contract between Harper Construction

   and the Government.

                   b. Harper Construction Subcontracts With F-Y, an Affiliated, Sham
                      “Small Business” Corporation to Meet Subcontracting Plan
                      Requirements

71. As early as July 13, 2011, Frazier Masonry and Harper Construction began discussing the

   masonry work on the Courthouse Bay Project.

72. Frazier Masonry submitted its first proposal to Harper Construction for the masonry

   subcontract work on the Courthouse Bay job on November 28, 2011. Frazier Masonry




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    submitted revised proposals to Harper Construction on March 9, 2012, March 12, 2012, April

    5, 2012, April 12, 2012, April 18, 2012, April 20, 2012, and May 30, 2012. A true copy of

    Frazier Masonry’s bid proposal dated April 5, 2012, is attached hereto as Exhibit 1.

73. Russ Frazier explained to Relator Howard that Frazier Masonry had an excellent chance of

    being awarded the masonry subcontract based on Frazier Masonry’s prior relationships with

    Harper Construction from having worked together on numerous federal government

    construction projects and private projects on the West Coast. Russ Frazier also specifically

    stated that Harper Construction was Frazier’s “best customer” on the West Coast.9

74. On April 12, 2012, Relator Howard attended a meeting with Russ Frazier and Andy Anello

    (Harper Construction’s Courthouse Bay Project Manager) regarding the Courthouse Bay

    Project. During the meeting, Harper Construction’s Andy Anello stated that a “small

    business company would need to be used” in order for Frazier Masonry to get the masonry

    subcontract. Russ Frazier explained to Anello that he could use his disabled-veteran owned

    small business company called F-Y.

75. As a result of this conversation, in which Russ Frazier essentially claimed ownership and

    control of F-Y, Andy Anello, and therefore Harper Construction, knew that F-Y was

    controlled, directly or indirectly, by Frazier Masonry and/or Russ Frazier and, therefore, that

    Frazier Masonry and F-Y were affiliated.

76. F-Y and Frazier Masonry were clearly affiliated companies, and as such, under the SBA

    Affiliation Rules, all the revenues of Frazier Masonry were required to be attributed to F-Y

    for the purpose of determining whether F-Y, in fact, could actually count as a “small

    business.” At all times relevant, Frazier Masonry itself did not qualify as a small business


        9
         In fact, in 2008, Frazier Masonry was asked by Harper Construction to offer their services exclusively to
Harper Construction on all BEQ proposals at Camp Pendleton in California.


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    under SBA size standards,10 and thus F-Y could not possibly have qualified as a small

    business, either, for purposes of good faith compliance with the Subcontracting Plan.

77. At all times relevant, F-Y was controlled by Frazier Masonry and its individual owner, Russ

    Frazier.

78. F-Y’s only source of construction contracts was through Frazier Masonry. F-Y was formed at

    the direction and behest of Russ Frazier solely for the purpose of serving as a small business

    “front” so that prime contractors, such as Harper Construction, could report compliance with

    their Subcontracting Plan goals. In fact, the idea to form F-Y was sparked by a conversation

    between Russ Frazier and Brad Humphrey (Harper Construction Vice President of

    Construction) wherein Humphrey told Russ Frazier that it would be “beneficial” to Frazier

    Masonry for it to “partner” with a small business contractor.11 F-Y was not a genuine

    masonry company. All of its contracts were completely performed by Frazier Masonry, a

    large business.

79. The only two persons who were ever employed by F-Y during its existence were Rob Yowell

    and Holly Frazier Yowell. Rob Yowell is Russ Frazier’s son-in-law and a key employee and

    Project Manager of Frazier Masonry, a position in which Yowell continued after becoming

    employed with F-Y. Holly Frazier Yowell is married to Rob Yowell and is Russ Frazier’s

    daughter. Russ Frazier has acknowledged that the “F” in F-Y stands for “Frazier” and the

        10
            As noted above, Frazier Masonry was one of the largest masonry subcontractors in the United States and
could not qualify as a small business under the relevant regulations. Further, Harper Construction has never
contracted with Frazier Masonry as a small business, and there are numerous statements from Harper Construction
employees acknowledging Frazier Masonry’s large business status, some of which are specifically mentioned
herein.
         11
            Harper Construction has engaged a practice whereby it would subcontract with actual small businesses
which would then subcontract out the entire scope of work to large businesses, such as Frazier Masonry. See infra
Part VI.B.2.b. To induce these small businesses to go along with this pass-through scheme so that Harper
Construction could fraudulently claim compliance with its Subcontracting Plan goals, Harper Construction would
have to pay these small businesses a “facilitation fee” of approximately 1–2% of the subcontract value. Because of
this, Harper Construction pressured companies like Frazier Masonry to supply a subcontractor that did not require a
fee. Obviously, it was not necessary to pay a fee to F-Y since F-Y and Frazier Masonry were one and the same.


                                         23
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   “Y” stands for “Yowell.”

80. As a prime contractor to the United States government on projects for which Subcontracting

   Plans are required, Harper Construction is charged with knowledge of – and the duty to

   comply with – SBA rules and regulations, including the SBA Affiliation Rules.

81. Harper Construction knew from its initial use of F-Y in 2011 that F-Y was controlled,

   directly or indirectly, by Frazier Masonry and/or Russ Frazier and, therefore, that Frazier

   Masonry and F-Y were affiliated such that F-Y could not legitimately qualify as a small

   business.

82. In September 2011, less than two months after F-Y was incorporated, Harper Construction

   awarded a $3,463,800 masonry and concrete subcontract to F-Y on a Recruit Barracks

   construction job at Camp Pendleton in California (P-1069). The work was then performed in

   its entirety by Frazier Masonry.12

83. Jeff Harper, the President and 100% shareholder of Harper Construction, had a close

   relationship with Russ Frazier and was personally aware, at least as early as May 12, 2011,

   prior to the P-1069 subcontract, of who Rob Yowell was and his relationship to Russ Frazier,

   having been introduced to Rob Yowell by Russ Frazier as his “future son-in-law.” Jeff

   Harper has also remarked that he was aware that Frazier Masonry “populated F-Y.”

84. Mike Firenze, a Project Manager for Harper Construction – and specifically the Project

   Manager on the P-1069 job – was also present at the May 12, 2011 industry dinner and spoke

   extensively with Rob Yowell and Holly Frazier regarding their upcoming wedding plans.

85. Rob Yowell, in his capacity as a Frazier Masonry employee, acted as a Project Manager for

   Frazier Masonry on several Harper Construction projects.13 Yowell’s involvement was


       12
            The P-1069 project is addressed in more detail below in Part VI.B.2.a.
       13
            Rob Yowell became a Project Manager for Frazier Masonry in May 2009.


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    especially significant on the BEQ Package 5 project at Camp Pendleton,14 a project on which

    Mike Firenze also served as Harper Construction’s Project Manager. Yowell’s allocated

    salary on that project was nearly $70,000.

86. Many other Harper Construction employees, including, but not limited to, Dave Golden

    (Harper Construction Vice President of Pre-Construction) and Kristina Benson (Harper

    Construction Project Coordinator), who also interacted frequently with Holly Frazier Yowell,

    were aware of Rob Yowell’s connections with Russ Frazier and his affiliation with Frazier

    Masonry as a result of Yowell’s interactions with Harper Construction in his Frazier

    Masonry Project Manager capacity.

87. In addition, Holly Frazier Yowell was the administrative contact for Frazier Masonry on

    BEQ Package 5.

88. Further, at least as of April 12, 2012, Andy Anello knew that Russ Frazier owned or

    controlled F-Y. That knowledge is imputed to Defendant Harper Construction.

89. On April 16, 2012, when Relator Howard expressed concerns to Russ Frazier regarding

    Frazier Masonry’s “use” of F-Y to “get the contract,” Russ Frazier responded that “It will be

    the last thing they [the Government] will be looking for on the East Coast.” Russ Frazier

    continued by saying: “All the liability will fall on the General Contractor [Harper

    Construction] and on F-Y, none on Frazier. We do it all the time on the West Coast. I don’t

    know how much it is done on the East Coast.”

90. On April 20, 2012, Andy Anello informed fellow co-workers, Brian Crowley (Design

    Manager at Harper Construction) and Kenton Ahrentzen (also an employee of Harper

    Construction), that “we [Harper Construction] have made a deal with Frazier Masonry for


        14
           Harper was awarded the BEQ Package 5 project on October 6, 2009. The project was completed on
August 6, 2011.


                                         25
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   the BEQ project at Camp Lejeune.” A true copy of the April 20, 2012 email from Andrew

   Anello to various team members is attached hereto as Exhibit 2.

91. According to statements made by Andy Anello to Relator Howard, Frazier Masonry was not

   the low bidder on the masonry work for the Courthouse Bay Project. Anello’s statement (on

   behalf of Harper Construction) suggests that Harper Construction contracted with Frazier

   Masonry for the nefarious purpose of reporting Subcontracting Plan compliance – because

   Frazier Masonry could ensure that F-Y held the subcontract but that Frazier Masonry would

   perform the work.

92. In response to Anello’s April 20th email announcing the deal with Frazier Masonry, Russ

   Frazier emailed Anello, copying various members of Frazier Masonry, including Rob Yowell

   at his F-Y email address (rob.fyi@gmail.com), asking Anello to provide Harper

   Construction’s project team names and contact information. Anello responded with several

   names, including Kristina Benson, “Project Coordinator”, for Harper Construction.

93. On April 23, 2012, Kristina Benson, in an email addressed to the “Frazier Team”, asked if

   someone “could direct [her] to the certified payroll contact at Frazier” (emphasis added).

   Rob Yowell, from his F-Y email address, responded: “Jamie Bello in our corporate office:

   jamieb@fraziermasonry.com” (emphasis added). A true copy of those emails is attached

   hereto as Exhibit 3.

94. On April 20, 2012, eight days after the meeting wherein Andy Anello stated that a “small

   business would need to be used” and wherein Russ Frazier offered his small business, F-Y,

   Andy Anello sent Russ Frazier an email asking him to “send [Anello] a proposal on the

   letterhead of the disabled veteran company.” Up to this point, Frazier Masonry had sent at

   least seven proposals for the masonry work on the Courthouse Bay Project. F-Y had never




                                    26
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   sent a proposal. A true copy of the Andy Anello’s April 20, 2012 email is attached hereto as

   Exhibit 4.

95. On April 24, 2012, Relator Howard became increasingly more concerned about the

   “arrangement” between Frazier Masonry and Harper Construction after receiving a

   forwarded e-mail from Russ Frazier. In the email, Andy Anello stated as follows to Russ

   Frazier: “We [Harper Construction] are close to an agreement with TKE (ThysennKrupp)

   Elevators for the CHB [Courthouse Bay] project. They too are a large business and I need

   to contract them as a small biz. Have you ever taken on the elevator contract as well?”

   (emphasis added). Through this email, Anello was inquiring as to whether Frazier Masonry

   had ever “taken on” an elevator contract – as a “pass-through” – through one of its sham

   small businesses, such as F-Y, and whether Frazier Masonry would be willing to do so at

   Courthouse Bay, such that TKE would actually perform the elevator contract and Harper

   Construction could claim the elevator contract as a “small business contract.” A true copy of

   the April 24, 2012 email from Russ Frazier to Relator Howard is attached hereto as Exhibit

   5.

96. Over the next several days, Harper Construction and Frazier Masonry team members

   exchanged e-mails regarding the design requirements for the BEQs, changes to the masonry

   plan, and setting up a “roundtable” meeting between the companies to discuss the scope of

   the masonry subcontract for Courthouse Bay and “small business participation” via

   subcontracts needed on the project in order to fulfill the Subcontracting Plan.

97. On April 25, 2012, Rob Yowell emailed Harper Construction employees, Tamara Tatman,

   Michelle Baril, and Patricia Wright (Harper Construction Contracts Administrator), with a

   letter providing alternate contact information for Yowell during his two-week absence from




                                    27
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   work for his honeymoon with Holly Frazier. Yowell instructed those Harper Construction

   employees to “please pass this letter along to any other administrative staff in your office

   who may find this information useful.” The letter states that during Yowell’s absence,

   “Debbie Wall [Frazier employee] and Gary Cox [Frazier Chief Financial Officer] will have

   full authority to handle any administrative needs that may arise on my behalf.” The letter

   included the contact information for Wall and Cox, including their Frazier Masonry emails

   and telephone numbers.

98. On or about May 1, 2012, Relator Howard attended the roundtable meeting between Harper

   Construction and Frazier Masonry at the Harper Construction jobsite trailer at Camp

   Lejeune. At the meeting, Russ Frazier pulled Relator Howard into a separate closed-door

   meeting with Harper Construction’s Andy Anello, in which Anello and Frazier discussed the

   possibility that material for the project would be bought through the small business, F-Y, but

   that all the fees would stay in a Frazier Masonry contract. Anello and Frazier discussed how

   the total $9.2 million contract would be split into two components: $4.5 million to F-Y for

   material and $4.7 million to Frazier Masonry for labor. After the meeting, Russ Frazier and

   the rest of the Frazier Masonry team flew back to the West Coast, leaving Relator Howard to

   manage the project. The $4.5 million/$4.7 million discussion never came to fruition.

99. At this point, it was clear that Frazier Masonry was using F-Y, “its” small business company,

   in order to “get” the masonry subcontract so that Harper Construction would be able to claim

   F-Y toward its Small Business Subcontracting Plan goals. Moreover, Harper Construction

   knew at this point that such an arrangement violated the SBA affiliation rules and would be a

   fraud upon the Government. Nonetheless, Harper Construction proceeded with the scheme.




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100.   On May 1, 2012, Harper Construction’s Project Manager, Andy Anello, sent an email to

   Patricia Wright (Harper Construction Contracts Administrator), and copied Russ Frazier,

   with the subject line: “F Y Incorporated Frazier SDVOSB”. Anello instructed Patricia

   Wright to review the attachment to the email and to alert other Harper Construction

   employees, and stated that “we need Frazier Masonry laying block in 2 ½ - 3 weeks.” The

   document attached to the email was entitled “Frazier Masonry Schedule B 4-18-12.doc”.15

   However, the attached document was actually a Schedule “B” for F-Y, the affiliated, pass-

   through company. A true copy of the May 1, 2012 email and the F-Y Schedule “B” is

   attached hereto as Exhibit 6.

101.   On May 8, 2012, in a conversation regarding material orders on the Courthouse Bay

   Project, Russ Frazier told Relator Howard, with regard to the situation with F-Y, that Harper

   Construction “had to get some small business credit and they had to do this.”

102.   In the May 8, 2012 conversation, Russ Frazier additionally stated that Frazier Masonry

   was “enrolled on two or three of their [Harper Construction’s] projects rights now.” Around

   the time of the Courthouse Bay Project, Harper Construction was in fact using Frazier

   Masonry as its masonry subcontractor on at least two projects at Camp Pendleton and Los

   Angeles Air Force Base.

103.   On those projects, the work was passed through F-Y in the same manner as on the

   Courthouse Bay Project – that is, by using a sham company with essentially no employees

   and which was controlled by, and therefore “affiliated” with, Frazier Masonry.

104.   Almost a week later, on May 14, 2012, Russ Frazier informed Relator Howard that the

   entire subcontract was then to be executed between Harper Construction and F-Y, as opposed



       15
            The Schedule “B” lays out the scope of work and obligations of the subcontractor.


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   to the two separate contracts discussed earlier. F-Y would then, in turn, “subcontract” the

   entire subcontract to Frazier Masonry.

105.   A Payment and Performance Bond (Bond Number 6070996) for the Courthouse Bay

   Project was issued bearing the date of May 17, 2012, on behalf of F-Y, as Principal, through

   Westfield Insurance Company, as Surety, in the amount of $9,157,220.00. The Bond states

   that F-Y entered into a subcontract with Harper Construction dated May 8, 2012, although

   the subcontract with F-Y was not actually executed by F-Y until a short while later, evidently

   on or about May 16, 2012.

106.   The subcontract between Harper Construction and F-Y, dated May 8, 2012, recites an

   initial amount of $9,157,220 and a changed amount to $9,173,504. The CCIP Insurance

   Credit form in the subcontract indicates that “All Labor is being subcontracted to Frazier

   Masonry.”16 The form additionally lists Mark Horwedel as the “Primary Contact” of F-Y,

   along with his Frazier email address. The Harper Construction/F-Y Courthouse Bay

   subcontract was signed by Rob Yowell and by Harper Construction’s owner and CEO, Jeff

   Harper.

107.   On May 21, 2012, Relator Howard attended a meeting with Russ Frazier and Parrish

   Hoffman, a sales representative for Adams Concrete, concrete vendor for this job, about the

   purchase of building materials for the Courthouse Bay Project. At the meeting, Russ Frazier

   explained to Hoffman that “Harper’s got some challenges on their end meeting their small

   business goals” and so Harper Construction “want[ed] to run part of [Frazier Masonry’s]

   contracts through” F-Y. Russ Frazier further stated that Frazier Masonry would guarantee

   the concrete purchases, and that Harper Construction would issue joint checks for payment to

   F-Y and Adams Concrete for the materials. Russ Frazier stated that all Purchase Orders
       16
            CCIP stands for “contractor controlled insurance program.”


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   should list F-Y, but that the bills and invoices for materials should be sent to Frazier

   Masonry’s North Carolina office for processing and coding, and that the payments would be

   made from California. Russ Frazier further stated that Frazier Masonry would fill out a

   credit application for F-Y.

108.   On May 22, 2012, Relator Howard attended a meeting at the Courthouse Bay job site

   with Russ Frazier, Andy Anello, and Les Willigar (Harper Construction Vice President of

   Construction). During the meeting, a discussion arose regarding the CCIP premiums with

   the F-Y subcontract (The CCIP premium amount for the subcontract was supposed to be the

   responsibility of the subcontractor). Anello, addressing Frazier, stated that the issue “was

   with you guys’ CCIP and GL ratings where the Frazier rates are trying to be applied to F-

   Y.” Application of the more favorable Frazier rate would, evidently, have resulted in a lower

   premium amount than application of the F-Y rate. Anello stated that the difference in the

   premiums was $16,000, which Anello was seeking to charge to Frazier Masonry. Russ

   Frazier responded, “Well from my perspective, I felt like that given we’re hopefully providing

   the value there by providing the small business and not charging anything for it . . . .” At

   that point, Les Willigar ended the debate over the issue, declaring, “We’ll pay the sixteen

   thousand. We’ll pay that.” Willigar then asked if the contract had been executed. Andy

   Anello explained that the contract had been “signed by Russ, or Rob, but it’s not signed by

   Jeff [Harper].” In response, Les Willigar directed Anello to “take the dollar amount, initial

   it, and move on before it goes up to Jeff. Add $16,000 for a bill and send it upstairs.”

109.   Consistent with Willigar’s executive decision, the subcontract between F-Y and Harper

   Construction on the Courthouse Bay Project in fact shows that the premium was originally




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   listed as $42,780 and was changed to $26,496 – representing the $16,000 CCIP charge that

   Harper Construction picked up.

110.   Around this same time, Relator Howard learned that Mark Horwedel would be coming

   from the West Coast to act as the “Official” Project Manager of the Courthouse Bay Project

   on behalf of Frazier Masonry, but that Relator Howard would remain “in charge” of the

   everyday operations at Courthouse Bay.

111.   On May 24, 2012, Relator Howard discussed the mechanics of the arrangement between

   Frazier Masonry and F-Y with Horwedel, so that Relator Howard would be able to deal with

   any questions relating to the material vendors arrangements while Horwedel was out of town.

   Horwedel explained that Frazier Masonry would act as a “Second Tier” subcontractor to F-Y

   on the project, and that “this is how we’ve had to handle minority participation several times

   over the last seven years” – including on earlier such arrangements on Harper Construction

   projects.

112.   On or about May 25, 2012, Frazier Masonry began the masonry work on the Courthouse

   Bay Project.

113.   On November 9, 2012, Harper Construction issued a change order to F-Y to be executed

   by both Harper Construction and F-Y. The document shows that Russ Frazier, not Rob

   Yowell, signed as “President” on behalf of “F-Y, Inc.” on November 13, 2012. Once again,

   this action cemented knowledge of the affiliation between F-Y and Frazier – a fact long

   known to Harper Construction. The November 9, 2012 change order is attached hereto as

   Exhibit 7.

114.   Although Harper Construction subcontracted with F-Y for the masonry work, the entirety

   of performance and management of the masonry subcontract was accomplished by Frazier




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   Masonry employees. The only persons who were ever “employed” by F-Y were Rob Yowell

   (who simultaneously was a Project Manager for Frazier Masonry), and Holly Frazier Yowell

   – Russ Frazier’s daughter and Rob Yowell’s new wife.

115.   Almost all of the paperwork that was prepared or issued for F-Y was in fact prepared or

   issued by Frazier Masonry employees. Even after the subcontract was “issued” to F-Y,

   Frazier Masonry submitted a revised quote to Harper Construction for the work on May 30,

   2012. Both F-Y and Frazier Masonry occupied the same field office at the Courthouse Bay

   Project, and all invoices for materials on the Courthouse Bay Project were sent to Frazier

   Masonry’s North Carolina P.O. Box and coded by a Frazier Masonry employee before being

   sent to F-Y for “accounting purposes.” No “employee” of F-Y, Inc. ever went to Camp

   Lejeune or set foot on the base in the performance of the Courthouse Bay BEQ masonry

   subcontract between F-Y, Inc. and Harper Construction.

116.   In December 2012, when the Government was investigating possible fraud by Frazier

   Masonry in connection with the Courthouse Bay project, a search warrant was executed upon

   the premises of Frazier Masonry and F-Y.

117.   Russ Frazier soon thereafter contacted his friend, Jeff Harper, to alert him of the

   Government’s investigation.

118.   In response, on or about December 24, 2012, Harper Construction abruptly and

   unilaterally terminated all contracts between itself and F-Y, including as to the Courthouse

   Bay Project.

119.   As a result of the terminations by Harper Construction, Frazier Masonry was required to

   immediately wind down its operations on these contracts at Camp Lejeune and Camp

   Pendleton, and to remove all of its property and personnel from the jobsites. In further




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   consequence of Harper Construction’s abrupt termination of all contracts with F-Y, Harper

   Construction instructed its personnel to have no contact whatsoever with Russ Frazier.

120.   Harper Construction was scheduled to complete the work on the Courthouse Bay Project

   at Camp Lejeune on January 28, 2014.

121.   Throughout the performance of the Courthouse Bay Project, Harper Construction

   submitted certified monthly progress payment requests pursuant to FAR 52.232-5, which the

   Government paid.

              2. Relator Learns that Defendants’ Fraudulent Conduct is Widespread

                 a. By Subcontracting with F-Y, Harper Construction Falsely Certified
                    Compliance with its Subcontracting Plans on Government Projects in
                    California

122.   Mark Horwedel admitted to Relator Howard in a conversation on May 24, 2012, that

   Frazier Masonry had engaged in similar schemes as described above several times over the

   past seven years. In a later conversation, Horwedel specifically told Relator Howard that

   Frazier Masonry had used the same set-up with F-Y on a construction project at Camp

   Pendleton in California. More specifically, Horwedel stated to Relator Howard that Frazier

   Masonry has utilized various companies controlled by and affiliated with Frazier Masonry

   and/or Russ Frazier that amount to “sham” small businesses, to help general contractors

   fulfill Subcontracting Plan requirements on various federal government construction projects

   on the West Coast.

123.   On June 21, 2012, Mark Horwedel told Relator Howard that “you [meaning companies

   like Frazier Masonry] can’t do the work if you don’t” use companies like F-Y to abet prime

   contractors, such as Harper Construction, in reporting “compliance” with their

   Subcontracting Plan goals. Horwedel further elaborated: “It gets to the point where, Harper




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   says . . . ‘Okay, we want to give you the job for that amount of money, but we need this, we

   need this, we need this.’”

124.   Frazier Masonry’s November 26, 2012 Job Report contains numerous jobs listing Frazier

   Masonry as the subcontractor to F-Y, Inc., CTI Concrete & Masonry, Inc., CTI Concrete &

   Masonry Tec, or Masonry Works. A true copy of Frazier Masonry’s Job Report is attached

   hereto as Exhibit 8.

125.   Just as with F-Y, Russ Frazier owned and/or controlled CTI, Masonry Tec, and Masonry

   Works, and these companies existed only as “sham small businesses” to fulfill Small

   Business Plan Subcontracting requirements for large general contractors, such as Harper

   Construction, on government construction projects.

126.   Russ Frazier acquired CTI, Masonry Tec, and Masonry Works merely to utilize those

   companies to facilitate fraudulent pass-through schemes for the benefit of Frazier Masonry

   and prime contractors, such as, Harper Construction, which then would assert compliance

   with its Subcontracting Plan goals. According to Mark Horwedel, in a conversation with

   Relator Howard on June 21, 2012, Russ Frazier used CTI, Masonry Tec, and Masonry Works

   on projects at Camp Pendleton “the same way [Frazier Masonry did] with F-Y” on the

   Courthouse Bay Project.

127.   In addition to the Courthouse Bay Project, the November 26, 2012 Job Report contained

   at least three other jobs that reflect sham arrangements between Harper Construction and F-Y

   for the purpose of falsely certifying good faith compliance with Small Business Plan

   Subcontracting goals on various large contracts that Harper Construction had been awarded

   by the federal government at Camp Pendleton in California. Those include the P-1069




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   Recruit Barracks project, BEQ’s P-1109 and P-1113, and the CNATT Aviation Training

   Facility project.

128.   Harper Construction was awarded the P-1069 Recruit Barracks construction job

   (hereinafter “P-1069”) at Camp Pendleton on September 21, 2010. The total original value

   of the prime contract was $48,523,000. As part of its proposal, Harper Construction

   submitted a Subcontracting Plan which was approved and accepted by the Government, and

   which became a material part of Harper Construction’s contract with the Government.

129.   Going back at least to June 4, 2010, Frazier Masonry engaged in discussions with and

   submitted proposals to Harper Construction for the concrete and masonry work on P-1069.

130.   In approximately early May 2011, Harper Construction awarded the masonry and

   concrete subcontract to Masonry Works, another company owned and controlled by Russ

   Frazier and Frazier Masonry, which was then to subcontract and pass through the entirety of

   the contract to Frazier Masonry.

131.   As with the Courthouse Bay Project, all proposals for the masonry and concrete work

   leading up to the contract award were submitted by Frazier Masonry – and none were

   submitted by Masonry Works.

132.   In a June 30, 2011 email, entitled “Concrete & Masonry Work, Inc.”, sent to Daniel

   Spurio (Frazier employee), Patricia Wright (Contracts Administrator for Harper

   Construction) wrote:

           In anticipation of issuing you a subcontract under this new company name for
           our P-1069 project, there are a couple things I need:
               1.) The attached W-9 completed and returned for this company, via e-mail
                   or fax.
               2.) A current contractor’s license no. for this company.

           Thank you in advance for your help with this 




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   (emphasis added). Thereafter, the masonry subcontract was issued by Harper Construction to

   Masonry Works.

133.   However, in late August 2011, a decision was made to void the contract with Masonry

   Works, and to issue a subcontract for the work to F-Y instead.

134.   On August 22, 2011, Gary Cox, Frazier Masonry’s CFO, emailed Mike Firenze (Harper

   Construction Project Manager on P-1069) with an “information sheet” on F-Y “pursuant to

   [Firenze’s] conversation with Russ [Frazier]” earlier that day. This information sheet stated,

   among other information, that F-Y had been formed less than five weeks earlier on July 20,

   2011, that F-Y was applying for Service-Disabled Veteran-Owned Small Business

   (SDVOSB) certification, and that “Robert A. Yowell” was the “President” of F-Y. Just prior

   to this, Mike Firenze had, for months, worked extensively with Rob Yowell, as a Frazier

   Masonry Project Manager, on the BEQ Package 5 project. A true copy of the August 22,

   2011 email and “information sheet” for F-Y is attached hereto as Exhibit 9.

135.   On August 24, 2011, Mike Firenze internally emailed Patricia Wright and instructed her

   to void the subcontract to Masonry Works and to issue the attached P-1069 concrete and

   masonry subcontract to F-Y instead. Along with the email, Firenze also attached the

   previously mentioned information sheet for F-Y. Additionally, in the email to Patricia

   Wright, Firenze listed the person of contact as “Daniel Spurio”, along with his Frazier

   Masonry email address. Thus, the contact person for the F-Y concrete and masonry

   subcontract was, in fact, a Frazier Masonry employee.

136.   On September 8, 2011, Harper Construction subcontracted the masonry work on P-1069

   to F-Y in the amount of $2,486,800. In addition to the masonry work, the building concrete

   work was subcontracted to F-Y in the amount $977,000, for a total of $3,463,800. The




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   subcontract agreement was signed by Rob Yowell on September 15, 2011, and by Harper

   Construction’s owner and CEO, Jeff Harper, on September 19, 2011. F-Y had been in

   existence for less than two months at that time.

137.   The P-1069 subcontract lists F-Y as a “SDVOSB”. Further, the subcontract mandates

   that the scope of work within the subcontract be subcontracted, “in its entirety, to Frazier

   Masonry to perform the work herein.” The CCIP Insurance Credit form in the subcontract

   further indicates that “All Labor is being subcontracted to Frazier Masonry.” The form

   additionally lists “Daniel Spurio” as the “Primary Contact” for F-Y, with his email as

   “DanielS@FrazierMasonry.com”.

138.   The masonry and concrete work on P-1069 was then performed, in its entirety, by Frazier

   Masonry.

139.   After the masonry and concrete subcontract for P-1069 was issued to F-Y, Harper

   Construction claimed the F-Y subcontract toward its Subcontracting Plan goals and certified

   that it was complying in good faith with its Subcontracting Plan, despite the fact that it knew

   that F-Y could not actually qualify as a small business because of its affiliation with Frazier

   Masonry.

140.   Harper Construction was scheduled to have completed P-1069 on March 4, 2013.

141.   During the performance of P-1069, Harper Construction submitted certified monthly

   progress payment requests pursuant to FAR 52.232-5, which the Government paid.

142.   Harper Construction was awarded the BEQ P-1109 and P-1113 construction job

   (hereinafter “P-1109/P-1113”) at Camp Pendleton on September 29, 2011. The total original

   value of the prime contract was $68,696,948. As part of its proposal, Harper Construction




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   submitted a Subcontracting Plan which was approved and accepted by the Government, and

   which became a material part of Harper Construction’s contract with the Government.

143.   As early as July 20, 2011, Frazier Masonry and Harper Construction discussed the

   masonry and concrete work on P-1109/P-1113. Thereafter, Frazier Masonry submitted

   numerous proposals for the work.

144.   By at least September 2012, a decision had been made to award the masonry and concrete

   subcontract to F-Y, which was then to subcontract and pass through the entirety of the

   contract to Frazier Masonry.

145.   Rich Davies (Harper Construction Senior Project Manager) sent an email on September

   4, 2012, to Daniel Spurio, Russ Frazier, Rob Yowell, and Jason Hamblin stating: “Team

   Frazier – I am in the process of finalizing your subcontract before sending to Brad

   [Humphrey] for his final review. I would appreciate your help in distributing the money in

   the right spot . . . .” (emphasis added).

146.   On September 10, 2012, Davies emailed the F-Y Schedule “B” for P-1109/P-1113 to

   Patricia Wright, copying Russ Frazier and Brad Humphrey (Harper Construction Vice

   President of Construction). In the email, Davies wrote: “Hi Patty- Attached is the

   subcontract scope of work for Building Concrete and Bldg/Site Masonry to FY-Inc. for the

   new BEQ P1109/P1113. (they are a small business entity affiliated with Frazier Masonry)

   They will needed [sic] on-site in early October 2012.” (emphasis partially added). A true

   copy of the September 10, 2012 email is attached hereto as Exhibit 10.

147.   Through a subcontract dated September 17, 2012, and fully executed on October 12,

   2012, the masonry and concrete work on P-1109/P-1113 was subcontracted to F-Y in the

   amount of $9,680,000. The CCIP Insurance Credit form in the subcontract further indicates




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   that “All Labor is being subcontracted to Frazier Masonry.” The form additionally lists

   “Daniel Spurio” as the “Primary Contact” for F-Y, with his email as

   “DanielS@FrazierMasonry.com”. Once again, the contact person for this “F-Y” job was, in

   fact, an employee of Frazier Masonry. The Harper Construction/F-Y P-1109/P-1113

   subcontract was signed by Rob Yowell and by Harper Construction owner and CEO, Jeff

   Harper.

148.   After the masonry and concrete subcontract for P1109/P1113 was issued to F-Y, Harper

   Construction claimed the F-Y subcontract toward its Subcontracting Plan goals and certified

   that it was complying in good faith with its Subcontracting Plan, despite the fact that it knew

   that F-Y could not actually qualify as a small business because of its affiliation with Frazier

   Masonry.

149.   Harper Construction was scheduled to have completed P1109/P1113 on March 11, 2014.

150.   During the performance of P1109/P1113, Harper Construction submitted certified

   monthly progress payment requests pursuant to FAR 52.232-5, which the Government paid.

151.   Harper Construction was awarded the CNATT Aviation Training Facility construction

   job (hereinafter “the CNATT Project”) at Camp Pendleton on September 12, 2011. The total

   value of the prime contract was $40,228,805. As part of its proposal, Harper Construction

   submitted a Subcontracting Plan which was approved and accepted by the Government, and

   which became a material part of Harper Construction’s contract with the Government.

152.   The masonry work on the CNATT Project was subcontracted to F-Y in the amount of

   $4,877,000. The CNATT subcontract, like the subcontract for P-1109/P-1113, was dated

   September 17, 2012, and was fully executed on October 12, 2012. The CNATT subcontract

   was signed by Rob Yowell and by Harper Construction’s owner and CEO, Jeff Harper.




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153.   After the masonry subcontract for the CNATT Project was issued to F-Y, Harper

   Construction claimed the F-Y subcontract toward its Subcontracting Plan goals and certified

   that it was complying in good faith with its Subcontracting Plan, despite the fact that it knew

   that F-Y could not actually qualify as a small business because of its affiliation with Frazier

   Masonry.

154.   The CNATT Project was scheduled to be completed by Harper Construction on February

   11, 2014.

155.   During the performance of the CNATT Project, Harper Construction submitted certified

   monthly progress payment requests pursuant to FAR 52.232-5, which the Government paid.

156.   In addition to the aforementioned Harper Construction projects, F-Y was used by Harper

   Construction on the Consolidated Parking Structure project at Los Angeles Air Force Base

   (hereinafter “the LAAFB Parking Structure Project”), once again, for the purpose of creating

   the illusion of compliance with its Subcontracting Plan goals.

157.   Harper Construction was awarded the LAAFB Parking Structure Project on September

   28, 2010. The total value of the prime contract was $7,377,265. As part of its proposal on

   the LAAFB Parking Structure Project, Harper Construction submitted a Subcontracting Plan

   which was approved and accepted by the Government, and which became a material part of

   Harper Construction’s contract with the Government.

158.   Kelsey Gallagher, the Project Manager for Harper Construction on the LAAFB Parking

   Structure Project, sent an email to Russ Frazier and Mike Soffa (Frazier Masonry Senior

   Estimator) on November 9, 2011, stating: “I need to purchase your block through a SDVSB.

   Let me know what the cost of your block (let’s keep it simple) is on this job so I can issue the




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   PO to the company.” A true copy of the November 9, 2011 email is attached hereto as

   Exhibit 11.

159.   A later email from Mike Soffa indicated that the cost of the materials was $30,907.14.

160.   Sometime thereafter, Harper Construction subcontracted with F-Y (F-Y Job #F51102) for

   the purchase of those materials in order to allow Harper Construction to claim credit toward

   its Subcontracting Plan goals.

161.   Harper Construction did in fact claim the F-Y subcontract for materials towards its

   Subcontracting Plan goals and certified good faith compliance with its Subcontracting Plan,

   despite Harper Construction knowing that F-Y could not actually qualify as a small business

   because of its affiliation with Frazier Masonry.

162.   On May 31, 2012, Holly Frazier Yowell sent an email to Kelsey Gallagher stating: “Per

   your conversation with Russ Frazier today please find attached the final invoice from F-Y

   Inc. for the block/mortar material purchased for Consolidated Parking Area LA AFB.”

163.   For the masonry work performed on the LAAFB Parking Structure Project, Harper

   Construction subcontracted directly with Frazier Masonry, at least originally. However, on

   February 27, 2012, Kelsey Gallagher emailed Russ Frazier and wrote: “Can we re-issue your

   subcontract to your sister company F-Y? I need to get the DVSB credits and didn’t know

   that you would carry your full contract under that company.” (emphasis added). Russ

   Frazier responded: “Is it going to kill you if we don’t? It would be complicated. Can we talk

   Thursday? …I’m in NC”. Gallagher further responded: “Let’s. I’ll be in SD the rest of the

   week.” A true copy of the February 27, 2012 email is attached hereto as Exhibit 12.

164.   The LAAFB Parking Structure Project was completed by Harper Construction on or

   about August 10, 2012.




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165.   During the performance of the LAAFB Parking Structure Project, Harper Construction

   submitted certified monthly progress payment requests pursuant to FAR 52.232-5, which the

   Government paid.

                  b. Harper Construction Has Engaged in Other Pass-Through Schemes
                     on Government Construction Projects in California

166.   In addition to knowingly utilizing F-Y, a company that could not actually count as a

   small business due to its affiliation with Frazier Masonry, in order to misrepresent

   compliance with its Subcontracting Plan requirements, Harper Construction also routinely

   engaged in fraudulent pass-through schemes whereby Harper Construction would find a

   small business (often times, unlike F-Y, a qualified, non-affiliated small business), issue a

   sham subcontract to that small business, pay the small business a fee or commission (a small

   percentage of the subcontract value) for perpetuating the pass-through, and subcontracting

   out the entire amount of the work to a large business. Harper Construction would then claim

   the value of the small business subcontract toward compliance with its Small Business

   Subcontracting Plan goals.

167.   Harper Construction engaged in such a scheme on the project referred to as “BEQ

   Package 5” at Camp Pendleton, and it is illustrative of yet another modus operandi by which

   Harper Construction certified “compliance” with its Subcontracting Plans.

168.   The BEQ Package 5 contract was awarded to Harper Construction on September 22,

   2009. The total original value of the prime contract was $124,372,557. As part of its

   proposal for BEQ Package 5, Harper Construction submitted a Subcontracting Plan which

   was approved and accepted by the Government, and which became a material part of Harper

   Construction’s contract with the Government.




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169.     As early as August 8, 2009, Harper Construction and Frazier Masonry discussed the

   masonry work on BEQ Package 5. Frazier Masonry submitted its first proposal for the

   project to Harper Construction on August 19, 2009.

170.     On December 18, 2009, Mike Firenze emailed Gary Cox (Frazier Masonry CFO) stating

   that “[i]n an effort to meet our Small Business goals, Harper Construction may ask that

   Frazier Masonry contract through C&I Grading.”17 Firenze asked Cox to look into

   “providing a Dual Obligee Rider” for Frazier Masonry’s bonds and told Cox “to let us know

   if there would be any issue so that we can work towards this possible solution to our Small

   Business Goals.” Harper Construction’s Rich Davies and Brad Humphrey were also copied

   on this email. A true copy of the December 18, 2009 email is attached hereto as Exhibit 13.

171.     On January 31, 2010, Firenze emailed Russ Frazier, stating in relevant part:

                Attached is the B scope for BEQ Package #5. As discussed, we would like to
                run this contract through C&I grading to mitigate Frazier’s Large Business
                status.

                Please review and send back any comments by COB Wednesday. After all
                comments are received and we are squared away on the scope I would like to
                invite you down to meet with Ed Glasco, owner of C&I Grading, to ensure we
                are all on the same page as far as the logistics of such a big pass-through.

   (emphasis added). A true copy of the January 31, 2010 email is attached hereto as Exhibit

   14.

172.     On March 10, 2010, Harper Construction issued the subcontract for the masonry work on

   BEQ Package 5 to C & I Grading in the amount of $12,468,000. The Schedule “B” in the

   subcontract between Harper Construction and C & I Grading included the following

   condition: “Subcontractor shall be required to subcontract the aforementioned scope, in

   its entirety, to Frazier Masonry to perform the work motioned herein. Any variance


         17
              C & I Grading was apparently a woman-owned/Native American-owned small business.


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   from this requirement will make this subcontract null and void.” (emphasis in original).

   Thereafter, in accordance with this provision, C & I Grading “passed through” the

   subcontract to Frazier Masonry. A true copy of the C & I Grading Schedule “B” is attached

   hereto as Exhibit 15.

173.   But for the pass-through scheme, intended by Harper Construction to allow it to claim

   compliance with its Subcontracting Plan goals, it made no sense to award a masonry contract

   to a grading company.

174.   On April 7, 2010, Laura Brullo (Harper Construction Vice President of Construction

   Accounting) sent an email to numerous Harper Construction employees which stated in

   relevant part:

              All, I just spoke with Russ Frazier. He was a little concerned on how the
              invoicing/payment flow would work with our “dummy” contract thru C&I.

              This flow will have to work a little different to make it work, especially since
              C&I is not too great on their paper flow.

   (emphasis added). A true copy of the April 7, 2010 email is attached hereto as Exhibit 16.

175.   On November 3, 2010, Harper Construction terminated its subcontract with C & I

   Grading.

176.   On November 22, 2010, Harper Construction issued a subcontract to another small

   business, Tinmen Contracting, Inc., a roofing contractor, for the remaining masonry work on

   BEQ Package 5.18

177.   The value of the Harper Construction/Tinmen subcontract was $4,534,359.80. The

   Schedule “B” in the Harper Construction/Tinmen subcontract contained the same mandate as

   the C & I Grading subcontract: “Subcontractor shall be required to subcontract the

   aforementioned scope, in its entirety, to Frazier Masonry to perform the work motioned
       18
            Tinmen is a small disadvantaged business concern.


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   herein. Any variance from this requirement will make this subcontract null and void.”

   In accordance with this provision, Tinmen did in fact subcontract out the entire scope of the

   subcontract to Frazier Masonry. A true copy of the Tinmen Schedule “B” is attached hereto

   as Exhibit 17.

178.   But for the pass-through scheme, intended by Harper Construction to allow it to claim

   compliance with its Subcontracting Plan goals, it made no sense to award a masonry contract

   to a roofing company.

179.   Payment requests from Frazier Masonry show that Tinmen received a “facilitation fee” of

   $67,010 (or about 1.5% of the subcontract value) for passing through the subcontract to

   Frazier Masonry and allowing Harper Construction to use Tinmen’s small business status to

   claim compliance toward its Subcontracting Plan goals on BEQ Package 5. This “facilitation

   fee” represents a fraudulent overpayment incurred by the United States, necessitated only by

   the pass-through scheme itself. A true copy of payment requests showing the “facilitation

   fee” for Tinmen is attached hereto as Exhibit 18.

180.   All of the masonry work on BEQ Package 5 was performed by Frazier Masonry and

   nearly the entirety of the subcontracting dollars regarding the masonry work went to Frazier

   Masonry, a large business. Despite this, Harper Construction wrongfully claimed value from

   the C & I Grading and Tinmen subcontracts toward compliance with its Small Business

   Subcontracting Plan goals.

181.   BEQ Package 5 was completed by Harper Construction on or about August 6, 2011.

182.   During the performance of BEQ Package 5, Harper Construction submitted certified

   monthly progress payment requests pursuant to FAR 52.232-5, which the Government paid.




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              3. Harper Construction Made False Statements and Submitted False Claims
                 in Connection with the Courthouse Bay Project and the Projects at Camp
                 Pendleton and Los Angeles Air Force Base

                  a. Harper Construction Did Not Comply in Good Faith with its
                     Subcontracting Plans

183.   At all times relevant, F-Y was controlled by Russ Frazier and Frazier Masonry. At all

   times relevant, F-Y was not, and could not qualify to be, a “small business” for purposes of

   Subcontracting Plan compliance because of the SBA’s “Affiliation Rules,” including during

   the duration of performance of the Courthouse Bay Project, P-1069, P-1109/P-1113, the

   CNATT Project, and the LAAFB Parking Structure Project.

184.   Harper Construction, knowing that F-Y was controlled by Russ Frazier and Frazier

   Masonry, and therefore was affiliated with Frazier Masonry, subcontracted with F-Y,

   knowing that F-Y would pass through masonry and concrete subcontracts to Frazier

   Masonry. Harper Construction subcontracted with F-Y merely so that it could certify to the

   Government compliance with its Subcontracting Plan goals for the Courthouse Bay Project,

   P-1069, P-1109/P-1113, the CNATT Project, and the LAAFB Parking Structure Project.

185.   The scheme employed by Harper Construction – knowingly using an affiliated

   subcontractor that could not qualify as a small business in order to pass the work through to a

   large business and, thereby, to falsely certify compliance with Subcontracting Plan goals –

   was not good faith compliance with a Subcontracting Plan or FAR 52.219-8 under the

   relevant regulations and statutes.

186.   In addition to the scheme involving Frazier Masonry-affiliated F-Y, Harper Construction

   knowingly engaged in other pass-through schemes whereby Harper Construction would

   subcontract with a small business, pay the small business a small fee, dictate that the small



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   business must subcontract out the entire scope of work, and then claim the small business

   subcontract toward its Subcontracting Plan goals, despite the fact that a large business

   actually performed all of the work and received substantially the entire dollar value of the

   subcontract.

187.   Knowingly using small businesses as mere “pass-throughs” – and forcing those

   companies to subcontract out the entire scope of work to large businesses – is not a legitimate

   means of complying with a Subcontracting Plan and is not good faith compliance with a

   Subcontracting Plan or FAR 52.219-8 under the relevant regulations and statutes. As stated

   by the SBA, a pass-through arrangement “does not comport with the spirit or intent of the

   subcontracting program.” SBLO Handbook, supra, at 77 (emphasis added).

                  b. Fraud in the Inducement

188.   In submitting its Subcontracting Plans and contracting with the Government on the

   Courthouse Bay Project, P-1069, P-1109/P-1113, the CNATT Project, LAAFB Parking

   Structure Project, and BEQ Package 5, Harper Construction represented that it would comply

   in good faith with its Small Business Subcontracting Plan and 15 U.S.C. §637, FAR Subpart

   19.7, and FAR §§52.219-8 and 52.219-9. The representations made by Harper Construction

   in those plans were false.

189.   As evidenced by its conduct alleged herein, Harper Construction had no intention of

   actually utilizing small businesses in the performance of numerous of its subcontracts.

   Instead, Harper Construction intended to subcontract with companies that it knew could not

   qualify as small businesses in order to create the illusion of compliance with its

   Subcontracting Plan and then require them to pass through the work to large businesses in

   order to create the illusion of compliance with its Subcontracting Plan. Had Harper




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   Construction not made these false representations, the Government would not have awarded

   those contracts to Harper Construction. As a result, each and every claim submitted under

   those contracts was false.

                  c. False Certifications in Progress Payment Requests

190.   The mandatory certifications that Harper Construction made in connection with its

   monthly progress payment requests for the Courthouse Bay Project submitted between April

   2012 and January 2014, including for work “performed” by F-Y, were false.

191.   When submitting its monthly payment requests, Harper Construction expressly certified

   that “[t]he amounts requested [were] only for performance in accordance with the

   specifications, terms, and conditions of the contract . . . .” (emphasis added). The amounts

   requested by Harper Construction were not for performance in accordance with the terms and

   conditions of the contract because Harper Construction instead was acting in direct

   contradiction of its material contractual obligation to comply in good faith with its

   Subcontracting Plan and FAR 52.219-8.

192.   Instead of complying in good faith, Harper Construction was subverting the purposes and

   goals of its Subcontracting Plan and the Small Business Subcontracting Program by

   conspiring with Frazier Masonry to use a Frazier-affiliated company – and therefore an

   unqualified small business, F-Y – to feign compliance with Harper Construction’s

   Subcontracting Plan goals. In other words, even while certifying that the payments requested

   were “for performance in accordance with the . . . terms[] and conditions of the contract”,

   Harper Construction was in fact performing in a way that was in direct and material breach of

   its contract with the Government.




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193.   In addition, and in the alternative, Harper Construction impliedly certified that it was

   complying in good faith with its Subcontracting Plan and FAR 52.219-8, a material

   obligation of the contract. Harper Construction knew that it was bound to this material

   contractual obligation. However, as noted above, Harper Construction was not complying in

   good faith with its Subcontracting Plan and FAR 52.219-8 and, thus, was in material breach

   of its contract with the Government.

194.   Had Harper Construction not made the aforementioned certifications, Harper

   Construction would not have been paid. See FAR 52.232-5(c). Had the Government known

   the truth – that Harper Construction was not complying in good faith with its Subcontracting

   Plan and FAR 52.219-8 – the Government would have terminated the contract for default,

   imposed liquidated damages, and/or reduced or suspended payments.

195.   Harper Construction made similar false certifications in its requests for payment on P-

   1069, P-1109/P-1113, the CNATT Project, the LAAFB Parking Structure Project, and BEQ

   Package 5.

                  d. False Statements in Subcontracting Plan Reports

196.   Harper Construction made multiple false statements in the Individual Subcontracting

   Reports (ISRs) that it submitted to the Government during the performance of the

   Courthouse Bay project.

197.   Harper Construction’s April 27, 2012 ISR for the Courthouse Bay Project reported

   Harper Construction’s progress toward meeting its Subcontracting Plan goals from the

   inception of the contract through March 31, 2012, a period prior to Harper Construction’s

   subcontract with F-Y. In the ISR, Harper Construction represented that thus far it had

   awarded 65.4% of its total subcontract awards to small business concerns generally, which




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   was below its goal of 75%. Further, Harper Construction represented that it had awarded 2%

   and 0% of its total subcontract awards to VOSBs and SDVOSBs, respectively, which was

   below its goals of 4% for each. In the “Remarks” section, Harper Construction stated that

   “[t]his project is just mobilizing” and that it was “holding a Small Business outreach event

   near the project location in April to develop small business subcontracting opportunities.”

   Additionally in April 2012, Harper Construction encouragingly told Russ Frazier that Frazier

   Masonry could be awarded the masonry contract if Frazier would deliver a small to business

   to hold the subcontract, and asked Russ Frazier if he could his sham SDVOSB small business

   to pass-through the elevator contract to a large business, ThysennKrupp Elevators.

198.   Harper Construction’s October 25, 2012 ISR reported Harper Construction’s progress in

   meeting its Subcontracting Plan goals from the inception of the contract through September

   30, 2012. At this point, Harper Construction’s report included the subcontract awarded to F-

   Y. In the ISR, Harper Construction represented that it had awarded 79.2% of the total

   subcontract awards to small business concerns, generally, and 19.3% and 18.2% to VOSBs

   and SDVOSBs, respectively. These representations were false because F-Y did not qualify

   as a small business, due to its affiliation with Frazier, for purposes of meeting Harper

   Construction’s Subcontracting Plan goals. Therefore, in actuality, Harper Construction was

   not meeting its Subcontracting Plan goals, and Harper Construction was not using good faith

   efforts to do so because it was knowingly using a small business that was affiliated with a

   large business to falsely represent compliance with its subcontracting goals. Had the

   contracting officer and the Navy known the truth, the contract with Harper Construction

   would have been terminated, the contracting officer would have imposed liquidated damages,




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   and/or payments to Harper Construction would have been suspended or reduced. A true

   copy of Harper Construction’s October 25, 2012 ISR is attached hereto as Exhibit 19.

199.   Harper Construction submitted its next ISR on April 25, 2013, after having learned in

   December 2012 that Frazier Masonry was under federal investigation. In response to having

   been told about the investigation by Frazier Masonry, Harper Construction forthwith

   terminated F-Y and Frazier Masonry on all of its jobs – even though Harper Construction had

   long known that F-Y was Russell Frazier’s “SDVOSB small business,” and having long

   known that these companies were affiliated.

200.   The April 25, 2013 ISR reported Harper Construction’s Subcontracting Plan progress

   from the inception of the contract through March 31, 2013. In this ISR, Harper Construction

   removed F-Y from its Subcontracting Plan goal progress, representing that it had awarded

   59.8% of the total amount subcontracted to small business concerns generally and 3.8% and

   2.7% to VOSBs and SDVOSBs, respectively. In the “Remarks” section of the ISR, Harper

   Construction, in explaining its Subcontracting Plan goal shortfall and the dramatic drop in

   compliance with its goals when compared to the last reporting period, stated:

              Since the last reporting period, Harper Construction discovered that a
              subcontractor [i.e., F-Y] had incorrectly claimed the small business
              classification of DVOSB. Harper Construction has re-classified that firm
              as a large business in our reporting system. As a result, the DVOSB,
              VOSB, and SB subcontracts have decreased since the last reporting
              period.

   (emphasis added). This statement was unequivocally false. The statement declares that

   Harper Construction had just recently (since October 2012) “discovered” that F-Y was not a

   small business under the relevant statutes and SBA regulations. To the contrary, however,

   Harper Construction had known since August 2011 that F-Y was affiliated with Frazier

   Masonry, and despite knowing this, Harper Construction nevertheless used the affiliated



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   company in order to assert compliance with its Subcontracting Plan. A true copy of Harper

   Construction’s April 25, 2013 ISR is attached hereto as Exhibit 20.

201.   The foregoing statement in the April 25, 2013 ISR was a brazen attempt by Harper

   Construction to cover up its fraud and material breach of its contract with the Government,

   motivated by the company having learned that Frazier Masonry and Russ Frazier were under

   investigation. Rather than stating the true reason why Harper Construction fell short of its

   goals as compared to the previous ISR (which would have exposed that Harper Construction

   was defrauding the Government and plainly was not complying in good faith with its

   Subcontracting Plan requirements), Harper Construction compounded the deception by

   putting forth another false statement of facts to mislead the Government further. At this

   point, Harper Construction had, on multiple occasions, violated the False Claims Act.

   Despite its obligation to report those violations, Harper Construction attempted to cover up

   its fraudulent conduct. Had the contracting officer and the Navy known the truth, the

   contract with Harper Construction would have been terminated, the contracting officer would

   have imposed liquidated damages, and/or payments to Harper Construction would have been

   suspended or reduced.

202.   Harper Construction submitted another ISR for the Courthouse Bay Project on October

   29, 2013. In this report, Harper Construction reported that only 65.2% (short of its goal of

   75%) of the total amount to be subcontracted had been subcontracted to small business

   concerns. In the “Remarks” section, Harper Construction simply said that its “subcontracting

   goals have not been met.” Harper Construction went on to state the following: “In

   conformance with our corporate Small Business Subcontracting Policy, and the associated

   Small Business Subcontracting Plan for this contract, Harper Construction has made




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    considerable efforts to identify, solicit, prequalify and issue subcontracts to small business

    subcontractors for this project.” A true copy of Harper Construction’s October 29, 2013 ISR

    is attached hereto as Exhibit 21.

203.    Harper Construction’s statement that it made “considerable efforts” to utilize genuinely

    qualified small businesses as subcontractors rings hollow in the face of substantial evidence

    otherwise as set forth in this Complaint. Further, although Harper Construction had already

    committed multiple violations of the False Claims Act, Harper Construction concealed its

    fraudulent conduct rather than stating the truth or reporting those violations. Had the

    contracting officer and the Navy known the truth, the contract with Harper Construction

    would have been terminated, liquidated damages would have been imposed, and/or payments

    to Harper Construction would have been reduced or suspended.

204.    Harper Construction made similar, if not identical, false statements material to payment

    in its ISRs during the performance of P-1069, P-1109/P-1113, the CNATT Project, and the

    LAAFB Parking Structure Project.19

205.    Specifically, on P-1069, Harper Construction submitted reports containing material false

    statements on or about October 2011, April 2012, October 2012, and March 2013 using the

    Electronic Subcontracting Reporting System (“eSRS”).

206.    On P-1109/P-1113, Harper Construction submitted reports containing material false

    statements on or about October 2012, April 2013, October 2013, and March 2014 using the

    Electronic Subcontracting Reporting System (“eSRS”).




        19
          Harper Construction undoubtedly made false statements in the SSRs that it submitted during the
performance of the projects described herein as well.


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207.     On the CNATT Project, Harper Construction submitted reports containing material false

    statements on or about October 2012, April 2013, October 2013, and February 2014 using

    the Electronic Subcontracting Reporting System (“eSRS”).

208.     On the LAAFB Parking Structure Project, Harper Construction submitted reports

    containing material false statements on or about April 2012 and August 2012 using the

    Electronic Subcontracting Reporting System (“eSRS”).

209.     Harper Construction made false statements material to payment in its ISRs during the

    performance of BEQ Package 5 by claiming the pass-through C & I Grading and Tinmen

    subcontracts, performed by Frazier Masonry, towards its small business subcontracting plan

    goals. Those ISRs were submitted on or about April 2010, October 2010, April 2011, and

    August 2011. The statements in those ISRs were false because Harper Construction

    represented that those Government dollars were going to those specific types of small

    businesses when, in fact, almost all of the dollar value of the subcontracts were going to

    Frazier Masonry, a large business.20

                  4. Frazier Masonry’s Owner/President and Chief Financial Officer Each
                     Pleaded Guilty to a Felony for Their Participation in the Frauds

210.     On September 4, 2013, Frazier Masonry principals Russ Frazier (President and Owner)

    and Gary Cox (Chief Financial Officer), each pleaded guilty to a criminal indictment

    charging them with violations of 18 U.S.C. §§ 2 and 1001, for their roles in perpetrating the

    aforesaid fraudulent schemes. On May 28, 2014, Frazier and Cox were sentenced as a result

    of their pleas.

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            Although the statements made in the ISRs during the performance of the Courthouse Bay Project, P-
1069, P-1109/P-1113, CNATT Project, and the LAAFB Parking Structure Project, in which Harper Construction
claimed the F-Y contracts toward fulfillment of its Subcontracting Plan goals were false because F-Y did not qualify
as a small business, those statements can also be said to be false for this reason as well (i.e., that the dollars and
percentages were not actual subcontracting achievements to the listed small business, but rather were merely pass
throughs to an unqualified large business, Frazier Masonry).


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                      VII.    ACTIONABLE CONDUCT BY DEFENDANTS
                               UNDER THE FALSE CLAIMS ACT

       A.         The False Claims Act

211.   This is an action to recover damages and civil penalties on behalf of the United States and

   Relator Howard arising from the false and/or fraudulent statements, claims, and acts by

   Defendant Harper Construction made in violation of the False Claims Act, 31 U.S.C.

   §§3729–3732.

212.   For conduct occurring on or after May 20, 2009, the FCA provides that any person who:

            (A) knowingly presents, or causes to be presented, a false or fraudulent claim
            for payment or approval;

            (B) knowingly makes, uses, or causes to be made or used, a false record or
            statement material to a false or fraudulent claim [except that this language
            applies to all claims pending on or after June 7, 2008];

            (C) conspires to commit a violation of commit a violation of subparagraph
            (A), (B), (D), (E), (F), or (G);

            ...

            (G) knowingly makes, uses, or causes to be made or used, a false record or
            statement material to an obligation to pay or transmit money or property to the
            Government, or knowingly conceals or knowingly and improperly avoids or
            decreases an obligation to pay or transmit money or property to the
            Government,

   is liable to the Government for a civil penalty of not less than $5,500 and not more than

   $11,000 for each such claim, plus three times the amount of damages sustained by the

   Government because of the false or fraudulent claim. 31 U.S.C. §3729(a)(1).

213.   The FCA defines “claim” as:

            (A) mean[ing] any request or demand, whether under a contract or otherwise,
            for money or property and whether or not the United States has title to the
            money or property, that--

                  (i) is presented to an officer, employee, or agent of the United States; or



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              (ii) is made to a contractor, grantee, or other recipient, if the money or
              property is to be spent or used on the Government's behalf or to advance a
              Government program or interest, and if the United States Government--

                  (I) provides or has provided any portion of the money or property
                  requested or demanded; or

                  (II) will reimburse such contractor, grantee, or other recipient for any
                  portion of the money or property which is requested or demanded . . . .

214.   The FCA allows any persons having knowledge of a false or fraudulent claim against the

   Government to bring an action in Federal District Court for themselves and for the United

   States Government and to share in any recovery as authorized by 31 U.S.C. §3730.

       B.     Defendant Harper Construction Submitted False or Fraudulent Claims for
              Payment to the Federal Government

215.   Defendant Harper Construction knowingly presented, or caused to be presented, false or

   fraudulent claims for payment or approval to the Government.

216.   These false or fraudulent claims for payment include, but are not limited to, monthly

   progress payments requests submitted on the Courthouse Bay Project at Camp Lejeune

   between April 2012 and January 2014 for which Defendant Harper Construction made

   express and/or implied false certifications that it was complying in good faith with its

   Subcontracting Plan and FAR 52.219-8. Had Defendant Harper Construction not made these

   false certifications, it would not have been paid.

217.   Defendant Harper Construction made similar false or fraudulent claims for payment

   during the performance of P-1069, P-1109/P-1113, the CNATT Project, and the LAAFB

   Parking Structure Project, and BEQ Package 5.

218.   As a result of Defendant Harper Construction’s fraudulent conduct, the Government has

   suffered significant damages.




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       C.     Defendant Harper Construction Made, Used, or Caused to be Made or Used
              False Records and/or Statements Material to False or Fraudulent Claims

219.   Defendant Harper Construction knowingly made, used or caused to be made or used,

   false records or statements material to false or fraudulent claims paid or approved by the

   Government.

220.   These material false statements or records include, but are not limited to, materially false

   statements and certifications made by Harper Construction when submitting its

   Subcontracting Plans and entering into contracts with the Government for the construction

   projects described herein at Camp Lejeune, Camp Pendleton, and Los Angeles Air Force

   Base, regarding Harper Construction’s intention to actually utilize small business concerns.

   In those statements, Harper Construction represented to the Government that it would make

   good faith efforts to comply with its Subcontracting Plans and award particular percentages

   of its subcontracting work to small business concerns, veteran-owned small business

   concerns, service-disabled veteran-owned small business concerns, HUBZone small business

   concerns, disadvantaged small business concerns, and woman-owned small business

   concerns. Harper Construction knowingly made these false statements in order to obtain the

   contracts described herein. Had the United States been aware of these false statements, it

   would not have awarded the contracts to Harper Construction or paid any claims submitted

   based upon the materially false statements.

221.   These material false statements or records additionally include, but are not limited to,

   materially false express and/or implied certifications in support of monthly progress payment

   requests submitted from April 2012 to January 2014 during performance of the Courthouse

   Bay Project at Camp Lejeune. Had Defendant Harper Construction not made those false

   certifications along with its requests for progress payments, it would not have been paid.



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222.   Further, these material false statements or records include, but are not limited to,

   materially false statements in Defendant Harper Construction’s Individual Subcontracting

   Plan Reports (ISRs) dated October 25, 2012, April 25, 2013, and October 29, 2013, with

   regard to the Courthouse Bay Project. If the Government had known the truth, it would have

   terminated its contract with Harper Construction, imposed liquidated damages, and/or

   suspended or reduced payments.

223.   Defendant Harper Construction made similar materially false statements or records

   during the performance of P-1069, P-1109/P-113, the CNATT Project, the LAAFB Parking

   Structure Project, and BEQ Package 5.

224.   As a result of Defendant Harper Construction’s fraudulent conduct, the Government has

   suffered significant damages.

       D.     Defendant Harper Construction Conspired to Commit Violations of the False
              Claims Act

225.   By virtue of planning, and then implementing, its schemes to use affiliated, sham small

   business companies to fulfill Subcontracting Plan goals, Defendant Harper Construction

   conspired and confederated with the former defendants to commit violations of the False

   Claims Act, 31 U.S.C. §3729, including having conspired and confederated to knowingly

   present false or fraudulent claims for payment or approval; knowingly make, use, or cause to

   be made or used, false records or statements material to false or fraudulent claims; knowingly

   make, use, or cause to be made or used, false records or statements material to an obligation

   to pay or transmit money or property to the Government, or knowingly conceal or knowingly

   and improperly avoid or decrease an obligation to pay or transmit money or property to the

   Government.




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226.   Defendant Harper Construction took substantial steps in furtherance of those conspiracies

   by, among other things, utilizing non-qualified, affiliated businesses to claim compliance

   with its Subcontracting Plan goals and creating false records which concealed the nature of

   its actions regarding its material contractual subcontracting plan obligations.

227.   The United States has suffered substantial damages as a result of the perpetration of the

   conspiracies.

       E.     Defendant Harper Construction Failed to Disclose Its Obligation to Repay
              Money to the Federal Government in Violation of the Reverse False Claims
              Provisions of the False Claims Act

228.   In further consequence of the Defendant Harper Construction’s fraudulent schemes in

   connection with the utilization of non-qualified, affiliated small businesses and small

   business pass-throughs to fulfill its Subcontracting Plan goals, Defendant Harper

   Construction knowingly made, used, or caused to be made or used, false records and/or

   statements to conceal, avoid, or decrease an obligation to pay or to reimburse money to the

   Government.

229.   Those false statements and/or records include, but are not limited to, false statements and

   representations in Defendant Harper Construction’s Individual Subcontracting Reports on

   Government construction projects described herein at Camp Lejeune, Camp Pendleton, and

   Los Angeles Air Force Base. In making those false statements, Defendant Harper

   Construction intended to avoid its obligation to repay to the United States Government the

   amounts it had received as a result of its submission of false claims and/or to avoid its

   obligation to pay liquidated damages, and it was reasonably foreseeable that Defendant

   Harper Construction’s statements would enable it to avoid these obligations.




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230.   By virtue of the false records and/or statements that Defendant Harper Construction

   made, used, or caused to be made or used, or material omissions by Defendant Harper

   Construction, the United States has suffered substantial monetary damages.

                             FIRST CLAIM FOR RELIEF
                        (FALSE CLAIMS – 31 U.S.C. §3729(a)(1)(A))

231.   The allegations of all paragraphs in this Complaint are incorporated by reference.

232.   In performing the acts described above, Defendant Harper Construction, by and through

   its agents, servants, officers and employees, knowingly presented, or caused to be presented,

   to an officer or employee of the United States Government, false or fraudulent claims for

   payment or approval in violation of 31 U.S.C. §3729(a)(1)(A).

233.   The United States government, unaware of the falsity of the claims for payment

   presented, or caused to be presented, by Defendant Harper Construction, paid claims that it

   would not have paid if the truth had been known.

234.   As a result of Defendant Harper Construction’s conduct, the United States government

   has been damaged in an amount to be determined at trial.

235.   Additionally, the United States is entitled to penalties of up to $11,000 for each and every

   false or fraudulent claim made or caused to be made by Defendant Harper Construction.

                            SECOND CLAIM FOR RELIEF
                     (FALSE STATEMENTS – 31 U.S.C. §3729(a)(1)(B))

236.   The allegations of all paragraphs in this Complaint are incorporated by reference.

237.   In performing the acts described above, Defendant Harper Construction, by and through

   its agents, servants, officers and employees, knowingly made, used, or caused to be made or

   used, false records or statements, and omissions, material to false or fraudulent claims paid or

   approved by the Government in violation of 31 U.S.C. §3729(a)(1)(B).




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238.   The United States government, unaware of the falsity of the records and/or statements

   made, or caused to be made, by Defendant Harper Construction, paid claims that it would not

   have paid if the truth had been known.

239.   As a result of Defendant Harper Construction’s conduct, the United States government

   has been damaged in an amount to be determined at trial.

240.   Additionally, the United States is entitled to penalties of up to $11,000 for each and every

   false or fraudulent claim paid or approved arising from Defendant Harper Construction’s

   fraudulent conduct as described herein.

                             THIRD CLAIM FOR RELIEF
                    (CIVIL CONSPIRACY TO COMMIT VIOLATIONS
                 OF THE FALSE CLAIMS ACT – 31 U.S.C. §3729(a)(1)(C))

241.   The allegations of all paragraphs in this Complaint are incorporated by reference.

242.   In performing the acts described above, Defendant Harper Construction conspired and

   confederated with the former defendants to commit violations of the False Claims Act, 31

   U.S.C. §3729, including having conspired and confederated to have knowingly presented

   false or fraudulent claims for payment or approval; having knowingly made, used, or caused

   to be made or used false records or statements material to false or fraudulent claims; and

   having knowingly made, used, or caused to be made or used, false records or statements

   material to an obligation to pay or transmit money or property to the Government, or

   knowingly concealed or knowingly and improperly avoided or decreased an obligation to pay

   or transmit money or property to the Government.

243.   As a result of Defendant Harper Construction’s conduct, the United States government

   has been damaged in an amount to be determined at trial.

244.   Additionally, the United States is entitled to penalties of up to $11,000 for each and every




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   false or fraudulent claim paid or approved arising from Defendant Harper Construction’s

   fraudulent conduct as described herein.

                          FOURTH CLAIM FOR RELIEF
                  (REVERSE FALSE CLAIMS – 31 U.S.C. §3729(a)(1)(G))

245.   The allegations of all paragraphs in this Complaint are incorporated by reference.

246.   In performing the acts described above, Defendant Harper Construction knowingly used

   false records and statements to conceal the obligation to pay or to reimburse money to the

   federal Government, in violation of 31 U.S.C. §3729(a)(1)(G).

247.   Through Defendant Harper Construction’s actions of improperly retaining funds to which

   it was not entitled, the United States has been deprived of the use of these monies and is

   entitled to recover damages in an amount to be determined at trial.

248.   Additionally, the United States is entitled to penalties of up to $11,000 for each and every

   violation of 31 U.S.C. 3729(a)(1)(G) Defendant Harper Construction committed.

                           FIFTH CLAIM FOR RELIEF
               (VIOLATION OF THE ANTI-KICKBACK ACT, 41 U.S.C. §53)

249.   The allegations of all paragraphs in this Complaint are incorporated by reference.

250.   Defendant Harper Construction, as prime contractor to the United States Government,

   illegally and unlawfully offered and then provided kickbacks to Frazier Masonry and/or F-Y

   in connection with the Courthouse Bay BEQ Project, P-1069, P-1109/P-1113, the CNATT

   Project, and the LAAFB Parking Structure Project, and to C & I Grading and Tinmen on

   BEQ Package 5.

251.   In its prime contracts with the Government on the aforementioned projects, Defendant

   Harper Construction made false statements that it had in place, and was following, effective

   and reasonable procedures designed to prevent and detect possible violations of the Anti-




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   Kickback Act. Harper Construction’s false statements were material to both its obtaining

   the contracts, and to its claims for payment made during the performance of those contracts.

252.   The Anti-Kickback Act expressly states that is illegal for a person to include any

   kickback in a claim for payment to the Government. On the aforementioned projects,

   Defendant Harper Construction, in violation of the Anti-Kickback Act, included, directly or

   indirectly, the amount of kickbacks in the contract price charged to the Government. As a

   result, those claims for payment which included the cost of the kickbacks were false. Had

   the Government known the truth, those claims would not have been paid.

253.   As a result of Defendant Harper Construction’s conduct, the United States government

   has been damaged in an amount to be determined at trial.

                                    PRAYER FOR RELIEF

       Relator Howard, on behalf of himself and the United States Government, prays as

follows:

   1. That for violations of the Federal False Claims Act, 31 U.S.C. §3729, et seq., this Court

       enter Judgment against the Defendant Harper Construction in an amount equal to three

       times the amount of damages the United States Government has sustained because of

       Defendants’ actions, plus a civil penalty of $11,000 for each action in violation of 31

       U.S.C. §3729, et seq., and the costs of this action, with interest, including the costs to the

       United States;

   2. That Relator Howard be awarded an amount that the Court decides is reasonable for

       collecting the civil penalty and damages in the amount of 30% of the proceeds of the

       action or settlement of the claim, or the maximum allowed under applicable law;

   3. That Relator Howard be awarded all costs of this action, together with all expert witness




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       fees, attorneys’ fees, and court costs, as fully as is allowed by law;

   4. That a trial by jury be held on all issues; and

   5. That the United States Government, and Relator Howard, further receive all relief, both

       in law and in equity, to which they may reasonably appear entitled.



This the 2nd day of March, 2015.

                                              Respectfully Submitted,


                                              /s/ Charles H. Rabon, Jr._________________
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                               CERTIFICATE OF SERVICE

       This is to certify that on this date I served a copy of the RELATOR’S SECOND

AMENDED COMPLAINT which was electronically filed with the Clerk of Court using the

CM/ECF system which will send notification of the electronic to the following individuals:

Sarah Carson, Smith Currie & Hancock             secarson@smithcurrie.com

Ronald G. Robey, Smith Currie & Hancock          rgrobey@smithcurrie.com

Steven L. Reed, Smith Currie & Hancock           slreed@smithcurrie.com

Neal Fowler, Department of Justice               Neal.fowler@usdoj.gov



This the 2nd day of March, 2015.




                                            /s/ Charles H. Rabon, Jr.______________

                                            Charles H. Rabon, Jr.




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